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                                   In the Matter Of:

                                 TAVARES DOCHER

                                            vs.

                             CHRISTOPHER NEWMAN




                                 MELVIN TUCKER

                                      July 12, 2017
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  TUCKER, MELVIN on 07/12/2017

   ·1·   · · · UNITED STATES DISTRICT COURT
   · ·   · · · SOUTHERN DISTRICT OF FLORDIA
   ·2
   · ·   ·___________________________________
   ·3·   ·TAVARES DOCHER, by and through· · ·)
   · ·   ·JANICE DOCHER NEELEY, his mother· ·)
   ·4·   ·and legal guardian,· · · · · · · · )
   · ·   · · · · · · · · · · · PLAINTIFFS,· ·)
   ·5·   · · · · · · · · · · · · · · · · · · )
   · ·   · · · vs.· · · · · · · · · · · · · ·)
   ·6·   · · · · · · · · · · · · · · · · · · )
   · ·   ·CHRISTOPHER NEWMAN, individually,· )
   ·7·   ·CLAYLAN MANGRUM, individually,· · ·)
   · ·   ·CALVIN ROBINSON, individually,· · ·)
   ·8·   ·KEN J. MASCARA, as SHERIFF of ST.· )
   · ·   ·LUCIE COUNTY, FLORIDA, JOSE· · · · )
   ·9·   ·ROSARIO, individually, and the· · ·)
   · ·   ·ST. LUCIE COUNTY FIRE DISTRICT,· · )
   10·   ·an independent special district,· ·)
   · ·   · · · · · · · · · · · ·DEFENDANTS.· )
   11·   ·___________________________________)

   12· · · · · · · · · · Raleigh, North Carolina

   13· · · · · · · · · · · · ·July 12, 2017

   14

   15· · · · · · · · · · · · ·Deposition of

   16· · · · · · · · · · · ·MELVIN L. TUCKER,

   17

   18· · · · herein, called for examination by counsel for the

   19· ·Defendants in the above-entitled action, pursuant to

   20· ·agreement, the witness being duly sworn by Mary Lynn

   21· ·Fuller, CVR, Court Reporter and Notary Public in and for

   22· ·the State of North Carolina, taken at Legal Media

   23· ·Experts, 4801 Glenwood Avenue, Suite 200, Raleigh, North

   24· ·Carolina, beginning at 10:04 a.m. on Wednesday, July 12,

   25· ·2017.


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   ·1· · · · · · · · · · ·P R O C E E D I N G S
   ·2· · · · · · ·MELVIN L. TUCKER,
   ·3· · · · · having been duly sworn,
   ·4· · · · · ·testified as follows:
   ·5· · · · · · · · · · · ·DIRECT EXAMINATION
   ·6· · · · BY MS. BARRANCO:
   ·7· ·Q.· ·Good morning, sir.
   ·8· ·A.· ·Good morning.
   ·9· ·Q.· ·For the record, my name is Summer Barranco.· I'm an
   10· ·attorney and I represent the sheriff of St. Lucie County
   11· ·and several of the St. Lucie County sheriff's deputies
   12· ·that are named in a federal lawsuit that's been brought
   13· ·by Mr. Tavares Docher, by and through his mother, Janice
   14· ·Docher Neeley, and I'm here today to take your
   15· ·deposition.
   16· · · · · · · · · I know some of us are attending by video
   17· ·teleconference, so forgive me if I don't have everything
   18· ·in front of you, but I've done my best to give the
   19· ·exhibits that I expect to be used during your deposition
   20· ·to the court reporter here today.
   21· · · · · · · · · Can you please state your full name and
   22· ·spell your last name for the record.
   23· ·A.· ·Yes.· My name is Melvin, M-E-L-V-I-N, middle
   24· ·initial, L, last name Tucker, T-U-C-K-E-R.
   25· ·Q.· ·And what is your present business address, Mr.


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   ·1· ·Tucker?
   ·2· ·A.· ·5929 Fordland Drive, Raleigh, North Carolina 27606.
   ·3· ·Q.· ·And are you currently seated for a deposition in the
   ·4· ·state of North Carolina?
   ·5· ·A.· ·Am I currently what?
   ·6· ·Q.· ·Are you currently in the state of North
   ·7· ·Carolina, --
   ·8· ·A.· ·Oh, --
   ·9· ·Q.· ·-- as we're speaking today?
   10· ·A.· ·Yes.· Yes, I am.
   11· ·Q.· ·Okay.· Thank you.
   12· ·A.· ·In Raleigh.
   13· ·Q.· ·All right.· Now I understand that you've been
   14· ·retained by the plaintiff in this case as a· - an expert
   15· ·witness.· Is that your understanding?
   16· ·A.· ·Yes.· That's correct.· Police procedures expert.
   17· ·Q.· ·And that was my next question.· What is the
   18· ·expertise that you hold yourself out as an expert in or
   19· ·what area of subject matter I should say?
   20· ·A.· ·Well, police procedures is what I generally define
   21· ·it as, which includes personnel matters, use of force,
   22· ·just about anything to do with police agencies.
   23· ·Q.· ·And in regard to this particular matter, the Docher
   24· ·versus Newman, et al., case, is there a particular aspect
   25· ·of your claimed expertise that you are traveling under?


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   ·1· ·A.· ·I'm not sure exactly what you're asking me, but I
   ·2· ·spell it all out in my report.· Yeah, my expertise on use
   ·3· ·of force, having qualified 97 times now as an expert, and
   ·4· ·probably 40 or 50 of those were use of force cases,
   ·5· ·including matters involving excited delirium, the
   ·6· ·physiology of a struggle, what I· - what are typically
   ·7· ·called proximity injuries or proximity deaths.· That's
   ·8· ·where I hold myself out as an expert in this particular
   ·9· ·case.
   10· ·Q.· ·Okay.· And the other· - you mentioned you've been
   11· ·qualified about 97 times and you said 40 or 50 of those
   12· ·were use of force cases.· What were the other cases?
   13· ·A.· ·It ranged -- everything from sex discrimination,
   14· ·race discrimination, to high-speed pursuit to religious
   15· ·accommodation.· Just about any activity involving a
   16· ·police agency, but the majority of my cases have been            -
   17· ·and I've had 530 over the last 20 years· - have been what
   18· ·I call high-risk police operations, use of force, and
   19· ·vehicle operations.
   20· ·Q.· ·And I understand that you also do some security type
   21· ·cases?
   22· ·A.· ·Yes.· I was certified by the American Society of
   23· ·Industrial Security as a security specialist and was
   24· ·trained in Israel by the Israeli Security Administration
   25· ·on airport security.· So I've had oh, probably 50, I'd


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   ·1· ·say, or more security cases over the years too.
   ·2· · · · · · ·MS. BARRANCO:· Okay.· And just for the record
   ·3· · - I know I said this before we went on the record, but
   ·4· ·just for the record, I'm asking the court reporter to
   ·5· ·mark the Notice of Deposition for today's deposition,
   ·6· ·which includes a· - an exhibit that's a decus tecum part
   ·7· ·of the notice, asking you to bring the items that you            -
   ·8· ·the items that are listed in your report and all
   ·9· ·materials not specifically referenced in your report that
   10· ·you used to form the basis of your opinions in this
   11· ·action.· So that's going to be marked as Exhibit A to the
   12· ·deposition here today and then you mentioned your report.
   13· ·I've asked that the court reporter mark what I understand
   14· ·to be your report, Mr. Tucker, in this Docher case· - to
   15· ·mark that as Exhibit B to your deposition here today.
   16· ·(Exhibit A and Exhibit B marked.)
   17· · · · BY MS. BARRANCO:
   18· ·Q.· ·Just so I understand we're talking about the same
   19· ·thing, do you have a copy of your expert report in the
   20· ·Docher case in front of you?
   21· ·A.· ·I do.
   22· ·Q.· ·And is the date of that report May 16th, 2017?
   23· ·A.· ·Yes, it is.
   24· ·Q.· ·And does it, attached to it, have Appendices A
   25· ·through I believe it is G?


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   ·1· ·A.· ·Well, actually, H.
   ·2· ·Q.· ·Or H.· Okay.
   ·3· ·A.· ·Yes.
   ·4· ·Q.· ·I think, in my copy, H isn't actually marked, but
   ·5· ·you reference it as exhibit· - or Appendix H in the
   ·6· ·report.
   ·7· ·A.· ·Okay.
   ·8· ·Q.· ·But we're talking about the same thing it sounds
   ·9· ·like?
   10· ·A.· ·Yes, we are.
   11· ·Q.· ·Very good.· Now, in looking at your· - I see
   12· ·Appendix A to your report is what's titled curriculum
   13· ·vitae?
   14· ·A.· ·Yes.
   15· ·Q.· ·Can you tell me if that is a current copy of your
   16· ·curriculum vitae or sometimes I'll refer to it as your
   17· ·CV?
   18· ·A.· ·It is a current copy of my CV and no changes from
   19· ·what you have there since May 16th.
   20· ·Q.· ·Well, if I understand what you're telling me, that
   21· ·CV was current as of May 16th of 2017?
   22· ·A.· ·Yes, and nothing has changed since then.
   23· ·Q.· ·And when was the last time you reviewed this version
   24· ·of your curriculum vitae?
   25· ·A.· ·About every deposition I have.· So probably the last


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   ·1· ·deposition, which would've been sometime in May.
   ·2· ·Q.· ·And in your last review of that dep· - of that CV,
   ·3· ·it was accurate?
   ·4· ·A.· ·Yes.· As accurate as I can make it.
   ·5· ·Q.· ·Sure.· Okay.· Well, in looking at your CV, I see
   ·6· ·that, in terms of your educational background, you
   ·7· ·received a B.A. in Business Management from the
   ·8· ·University of South Florida in 1965.· Is that correct?
   ·9· ·A.· ·I was the first graduating class from the University
   10· ·of South Florida.· That's how old I am.
   11· ·Q.· ·Yeah.· I wasn't going to ask you that question, but
   12· ·that's fine.· And then you received an MPA in Public
   13· ·Administration from Appalachian State University from
   14· ·Boone, North Carolina in 1977, is that right?
   15· ·A.· ·Yes.· That's correct.
   16· ·Q.· ·And then you had some military experience in the
   17· ·navy?
   18· ·A.· ·Yes, active duty for four years and then in the
   19· ·reserves for an additional 12 -- 15 years.
   20· ·Q.· ·And the active reserves were back in 1965 to 1969?
   21· ·A.· ·Yes.· No, that        -
   22· ·Q.· ·And then the      -
   23· ·A.· ·Yeah.· The active duty was· 65 through· 69.· That's
   24· ·correct.
   25· ·Q.· ·Yes.· And then your reserve duty was from 1969 to


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    ·1· ·1988?
    ·2· ·A.· ·Correct.
    ·3· ·Q.· ·And then, in terms of your employment background, I
    ·4· ·see on your CV you've listed litigation consultant and
    ·5· ·law enforcement/security trainer, 1994 to the present?
    ·6· ·A.· ·Correct.
    ·7· ·Q.· ·Is that right?
    ·8· ·A.· ·Correct.
    ·9· ·Q.· ·And is there a company that you were affiliated
    10· ·with?
    11· ·A.· ·No.· A sole proprietor, just me.
    12· ·Q.· ·Is there a name for your sole proprietorship?
    13· ·A.· ·Criminal Justice and Security Consultant/Trainer.
    14· ·Q.· ·And that's at the top of your CV, correct?
    15· ·A.· ·Correct.
    16· ·Q.· ·Other than yourself, does anybody else work with
    17· ·you?
    18· ·A.· ·No.
    19· ·Q.· ·Besides your· - well, let me ask you.· Did you
    20· ·prepare the report that's been marked as Exhibit B             -
    21· ·A.· ·I did.
    22· ·Q.· ·-- to your deposition?
    23· ·A.· ·I did.
    24· ·Q.· ·Did anyone assist you in preparing your report?
    25· ·A.· ·Nobody assisted me in preparing my report.· My


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    ·1· ·report is my own report.
    ·2· ·Q.· ·So then you would've been the one to type it up as
    ·3· ·well?
    ·4· ·A.· ·Correct.
    ·5· ·Q.· ·Did you get input from anybody in terms of what you
    ·6· ·should put into your report?
    ·7· ·A.· ·No.
    ·8· ·Q.· ·Did anyone tell you what you should not put in your
    ·9· ·report?
    10· ·A.· ·No.
    11· ·Q.· ·Now I understand that you· - as I mentioned before,
    12· ·you were retained by the plaintiff's side in this case,
    13· ·which is the law firm of Searcy, Denney, et al.· I don't
    14· ·know all the names.· I don't have them memorized.· But
    15· ·have you been retained by this law firm for any other
    16· ·case or proceeding?
    17· ·A.· ·Yes.
    18· ·Q.· ·How many times?
    19· ·A.· ·Let's see.· I did the Dontrell Stephens case, down
    20· ·in West Palm Beach.· I did the Coconut Grove Police
    21· ·Department case· - taser case, which just settled.· The
    22· ·Dontrell Stephens was a plaintiff's judgment at large.
    23· ·Maybe another one.· I don't know.· Like I said, I've had
    24· ·over 500 cases.· But I've done at least two, maybe three
    25· ·cases, with the firm, counting this --


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    ·1· ·Q.· ·Okay.
    ·2· ·A.· ·-- one.
    ·3· ·Q.· ·And in that Dontrell Stephens case, which I have
    ·4· ·personal knowledge of· - my office was involved in that
    ·5· ·case as well· - do you recall which attorney with Searcy
    ·6· ·Denney actually retained you?
    ·7· ·A.· ·Jack Scarola.
    ·8· ·Q.· ·And then the same question in the Coconut Grove case
    ·9· ·you mentioned.
    10· ·A.· ·I believe that was Adam Hecht.
    11· ·Q.· ·And then, in our present Docher case, which lawyer
    12· ·retained you?
    13· ·A.· ·My original communication on that case was with            -
    14· ·hold on a minute· - with Adam Hecht in December of 2014.
    15· ·Q.· ·Now you're talking about Docher?
    16· ·A.· ·Yes.
    17· ·Q.· ·Okay.· Now you said there might be one other matter,
    18· ·other than these three that you've specified, and I know
    19· ·that you included, as Appendix B to your report, a list
    20· ·of about 57 cases that you've done, it looks like, most
    21· ·recently.· Would looking at that list perhaps refresh
    22· ·your recollection as to what other case you· - or cases
    23· ·you may've been retained in by the Searcy Denney law
    24· ·firm?
    25· ·A.· ·I'd be happy to look.· The list is what is required


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    ·1· ·under the rules for experts, a four year period at least,
    ·2· ·and, typically, what I do is go through that once in a
    ·3· ·while and, if it's more than four years old, I chop off
    ·4· ·the number one and keep on going.· So let's see here.
    ·5· ·Obviously, these are only cases in which I testified in
    ·6· ·deposition or trial.· So I see the Dontrell Stephens in
    ·7· ·there because I did testify in trial.· I do not see on
    ·8· ·the list the Coconut Grove Department, because I was
    ·9· ·scheduled for deposition May the 26th and it settled
    10· ·before I was deposed.· So it's obviously not on there.
    11· ·But I don't see any other ones right off the bat.· So, to
    12· ·answer your question, the only ones that I know of are
    13· ·what I told you, Stephens, --
    14· ·Q.· ·Okay.
    15· ·A.· ·Coconut Grove, and this one.
    16· ·Q.· ·Okay.· So, in terms of the times that you've been
    17· ·actually retained by the Searcy Denney law firm, other
    18· ·than the present case, your testimony is in three other
    19· ·matters you've been retained by the Searcy Denney law
    20· ·firm?
    21· ·A.· ·That's the best of my recollection.
    22· ·Q.· ·And do you remember what court that Coconut Grove
    23· ·case was in?
    24· ·A.· ·No.
    25· ·Q.· ·Do you remember if it was federal or state?


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    ·1· ·A.· ·Obviously, it was federal.
    ·2· ·Q.· ·And do you recall if the other one that you didn't
    ·3· ·have a specific name for, if that was federal or state?
    ·4· ·A.· ·I do very little work in state courts since, like I
    ·5· ·said, it's use of force cases.· They're almost always in
    ·6· ·federal court.· Anything I've done with this firm has
    ·7· ·been in federal court.
    ·8· ·Q.· ·Okay.· Now I believe, looking at your CV, you've
    ·9· ·included the fact that you, at one point in time in your
    10· ·career, were a police officer, is that right?
    11· ·A.· ·A police officer?· Is that what you said?
    12· ·Q.· ·Yes.
    13· ·A.· ·I always was a police officer, except for the period
    14· ·of time I was an FBI agent.
    15· ·Q.· ·Okay.· Well, I understand at some point, for at
    16· ·least 10 years or so, you were the Chief of Police in
    17· ·Tallahassee.· Is that correct?
    18· ·A.· ·I was Chief of Police in Tallahassee almost 15
    19· ·years.· I was Chief of Police in Asheville a little over
    20· ·two years, because I was a reform chief there.· I was the
    21· ·Chief of Police in Hickory, North Carolina for three and
    22· ·a half years and Chief of Police and Public Safety
    23· ·Director in Morristown, Tennessee for three and a half
    24· ·years.
    25· ·Q.· ·And so, obviously, during those time periods, even


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    ·1· ·if you're Chief of Police, you're still considered a
    ·2· ·police officer?
    ·3· ·A.· ·That's correct.· In fact, just, for example, when I
    ·4· ·was Chief of Police in Morristown, Tennessee, since that
    ·5· ·was only a 45-officer department, I worked homicide
    ·6· ·cases, in fact, the murder of a federal judge's sister.
    ·7· ·I did traffic· - everything that a regular police officer
    ·8· ·does and I did that, in fact, throughout my career.
    ·9· · · · · · · · · When I was Chief of Police in Tallahassee,
    10· ·even though it was about 500 officers for employees, I
    11· ·wore a regular police officer's uniform out in the field.
    12· ·At least twice a month, I would schedule to go out so I
    13· ·could keep my policing skills up, number one.· Number
    14· ·two, to audit my police operation by talking to the
    15· ·officers about how my policies were working and I made my
    16· ·last arrest as a police officer in Tallahassee four
    17· ·months before I retired when an armed robbery occurred
    18· ·and I happened to be in the area and spotted the
    19· ·individual and took him into custody.
    20· ·Q.· ·And what year would that have been?
    21· ·A.· · 94, when I retired from there.
    22· ·Q.· ·Okay.· And just to get a sense of what time frame
    23· ·we're talking about here, in looking at your CV, it says
    24· ·you were a Chief of Police and Public Safety Director of
    25· ·Morristown, Tennessee from 1971 to 1974.· Is that


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    ·1· ·correct?
    ·2· ·A.· ·Correct.
    ·3· ·Q.· ·And then you were a Chief of Police, Hickory· - of
    ·4· ·Hickory, North Carolina from 1974 to 1977?
    ·5· ·A.· ·Correct.
    ·6· ·Q.· ·And how many officers were in the Hickory Police
    ·7· ·Department?
    ·8· ·A.· ·92 at that time.
    ·9· ·Q.· ·Sure.· Because we're going back a few years, right?
    10· ·A.· ·Yes.
    11· ·Q.· ·Do you know how large of an agency it is now?
    12· ·A.· ·No, I don't.
    13· ·Q.· ·You do not?
    14· ·A.· ·No, I don't.· I'm sorry.
    15· ·Q.· ·That's okay.· And then it looks like you were the
    16· ·Chief of Police in Asheville, North Carolina from 1977 to
    17· ·1979?
    18· ·A.· ·Right.
    19· ·Q.· ·And how many officers were in the Asheville Police
    20· ·Department back when you were a chief?
    21· ·A.· ·162 as I recall.
    22· ·Q.· ·And do you know how many are in the force now?
    23· ·A.· ·No, I don't.
    24· ·Q.· ·And then I know you've told us that you were Chief
    25· ·of Police in Tallahassee from 1979 to 1994.· You said


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    ·1· ·there were about 500 officers at the time you retired, is
    ·2· ·that right?
    ·3· ·A.· ·There were 362 when I went there -- officers -- and
    ·4· ·I think there was close to 500 employees when I left.
    ·5· ·Somewhere around that mark.· I'm not sure.
    ·6· ·Q.· ·And do you know how many officers they currently
    ·7· ·have working for the Tallahassee Police Department?
    ·8· ·A.· ·No, I don't.
    ·9· ·Q.· ·All right.· Now I know we discussed some parts of
    10· ·your curriculum vitae, which is Appendix A to your
    11· ·report, and then you told me about the list of cases as
    12· ·Appendix B.· One thing I wanted to ask you was what have
    13· ·you reviewed in this case in formulating your opinions?
    14· ·A.· ·What have I reviewed?
    15· ·Q.· ·Yes, sir.
    16· ·A.· ·That's all listed on Appendix C, which you have.
    17· ·What I did yesterday was updated that list because I have
    18· ·received depositions, which I reviewed, since May the
    19· ·16th.· I reviewed the deposition of Ryan Gonzalez,
    20· ·Hardyal Bhagudas, Mark Brown, Wade Courtemanche -- I
    21· ·don't know if that's pronounced correctly or not· - Clay
    22· ·Mangrum, Christopher Newman, Calvin Robinson, Samantha
    23· ·Gileweski, and I received a video of a medical exam of
    24· ·Mr. Docher by defense expert, Dr. Michael Shahnasarian
    25· ·and I'm told that I'm going to be provided with


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    ·1· ·additional materials, including the corporate
    ·2· ·representative from the St. Lucie County Sheriff's
    ·3· ·Department's deposition.· So, until I have reviewed that,
    ·4· ·my opinions are going to remain preliminary.
    ·5· ·Q.· ·Okay.· Now let me just clarify what you just said.
    ·6· ·Something about a video of Mr. Docher?
    ·7· ·A.· ·It was a· - it's· - it is titled video· - this is
    ·8· ·what was on the DVD.· Video of CME of Tavares Docher by
    ·9· ·defense expert, Dr. Michael Shahnasarian, and that's it.
    10· ·Q.· ·Okay.· I missed the CME part.· So is the· - I guess
    11· ·the compulsory medical examination of Mr. Docher?
    12· ·A.· ·I think that's what CME stands for, yes.
    13· ·Q.· ·And do you know when that was conducted?
    14· ·A.· ·I have it here with me, so I can look and see if
    15· ·it's got a date on it, but· - 5/10/17.· No· - excuse me
    16· · - 5/16/17.· So the day that I filed my report, it was
    17· ·done.
    18· ·Q.· ·Did you actually get an opportunity to watch that
    19· ·video before finalizing your report?
    20· ·A.· ·No.· Very briefly, first of all, I'm not a medical
    21· ·expert and I assume that just goes to damages, that it
    22· ·has nothing to do with my part of the work.
    23· ·Q.· ·Okay.· The same question for the other depositions
    24· ·that you listed and listed, quite a few.· Did you have
    25· ·the opportunity to actually review all of those


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    ·1· ·depositions before finalizing your May 16th, 2017 report?
    ·2· ·A.· ·Obviously, I couldn't have.· I didn't receive them
    ·3· ·until· - most of the items that I told you about, I
    ·4· ·didn't receive until after May the 16th.
    ·5· ·Q.· ·Okay.· Thank you for clarifying that.· But you've
    ·6· ·since been able to review them?· Is that what you told
    ·7· ·me?
    ·8· ·A.· ·That's correct.· All of them.
    ·9· ·Q.· ·Now do any of those depositions that you did review
    10· ·since your report was authored change any of your
    11· ·opinions?
    12· ·A.· ·Well, it reinforced them for sure and, in reading
    13· ·the depositions, I was· - I discovered that Mr. Mangrum,
    14· ·when he was deposed, says he also delivered a· - an elbow
    15· ·strike to Docher's head in his deposition, page 59, line
    16· ·24.· So he didn't consider it to be deadly force· cause
    17· ·he also had done it.· So, certainly, I will be adding in,
    18· ·when I finalize my report, the use of deadly force by
    19· ·Mangrum, who admits that he also delivered an elbow
    20· ·strike to the head, which was deadly force, when it
    21· ·wasn't justified.· I'll be adding that in.
    22· ·Q.· ·And that's based on that deposition testimony from
    23· ·Deputy Mangrum?
    24· ·A.· ·Basically, my entire report and opinions are based
    25· ·upon what the officers themselves said in their reports


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    ·1· ·-- or depositions and reports.
    ·2· ·Q.· ·Okay.· Well, in terms of Deputy Mangrum's testimony,
    ·3· ·did Deputy Mangrum testify specifically what part of Mr.
    ·4· ·Docher's body he struck with his elbow?
    ·5· ·A.· ·No, he didn't say.· He was up at the head area,
    ·6· ·opposite Newman, and when asked about whether or not he
    ·7· ·thought it was deadly force, he said an elbow strike to
    ·8· ·the head, as far as he was concerned, was not deadly
    ·9· ·force.· He saw the elbow strike of· - that Newman
    10· ·delivered, but he said he couldn't tell if it was to the
    11· ·right side of the temple or not.· But, in any case, he
    12· ·didn't consider it to be deadly force.
    13· ·Q.· ·And you're referring to Mangrum now, correct?
    14· ·A.· ·That's correct.
    15· ·Q.· ·Yes.· And I know that you referred to the elbow
    16· ·strikes as deadly force in your report, in term's of
    17· ·Deputy Newman's action, and I will definitely be covering
    18· ·that with you momentarily.
    19· ·A.· ·Yes.
    20· ·Q.· ·But other than what you just mentioned about Deputy
    21· ·Mangrum and his elbow strike that you referenced from his
    22· ·testimony, was there any other revision or update to your
    23· ·opinions that you believe occurred since the reviewing of
    24· ·all those additional depositions?
    25· · · · · · ·MR. VITALE:· Object to form.


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    ·1· ·A.· ·Yeah.· Like I said, the reading of the depositions
    ·2· ·just reinforced the support for my opinions.· They, in
    ·3· ·their depositions, talked about him being out of his
    ·4· ·mind, showing the symptoms of ED, recognizing that ED is
    ·5· · - excited delirium is a medical emergency, but then
    ·6· ·Mangrum says gee, he never· - it never crossed his mind.
    ·7· ·Excited delirium never crossed his mind once.
    ·8· · · · · · · · · So, basically, the depositions just
    ·9· ·reinforced my opinions, as expressed right now, and when
    10· ·I do a final report, of course, I will add in their
    11· ·deposition testimony, where relevant, into the final
    12· ·report after I've seen the deposition testimony of the
    13· ·corporate representative of the St. Lucie County
    14· ·Sheriff's Department.
    15· ·Q.· ·Okay.· And I didn't want to interrupt you, but you
    16· ·started that answer with using the word they and were you
    17· ·referring to the deputies or someone else?
    18· ·A.· ·They being the deputies, yes.
    19· ·Q.· ·Okay.
    20· ·A.· ·Mangrum     -
    21· ·Q.· ·And that was based on their --
    22· ·A.· ·Mangrum, --
    23· ·Q.· ·Mangrum, --
    24· ·A.· ·-- Robinson, and Newman.· Correct.
    25· ·Q.· ·Okay.· And that would· - I'm sorry.


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    ·1· ·A.· ·That's okay.· Go ahead.
    ·2· ·Q.· ·Are you· - okay.· Are you referring to their
    ·3· ·deposition testimony?
    ·4· ·A.· ·Yes.
    ·5· ·Q.· ·Now I know Exhibit A· - I mentioned it earlier           -
    ·6· ·was the notice with the duces tecum, asking you to bring
    ·7· ·the items that you've relied on or referenced in your
    ·8· ·report -- or relied on, I think, is the way it's worded.
    ·9· ·What did you bring to your deposition today, sir?
    10· ·A.· ·I brought everything, the entire file that I have,
    11· ·and because you asked for· - in the subpoena duces tecum
    12· ·for the items that I relied upon and I footnoted, for
    13· ·example, in my report· - let me find the page, please.
    14· ·I footnoted, in my report, my book.· I footnoted· - that
    15· ·was footnote number 1.· I footnoted the Force Science
    16· ·News #29 bulletin.· So I made a copy of that for you that
    17· ·I brought and I footnoted the International Association
    18· ·of Chiefs of Police National Law Enforcement Policy
    19· ·Center Concepts and Issues paper on excited delirium that
    20· ·was dated April of 2014 and I made a copy of that for you
    21· ·and, as I said, I brought a copy of my book, but I'll
    22· ·keep the book.· You can have the copies that I made of
    23· ·the two other items I footnoted and you can get the book
    24· ·from CRC Publishing.· That would help my royalties.
    25· ·Q.· ·Okay.· Sure.· Would it be possible to get a


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    ·1· ·photocopy of the cover of your book?
    ·2· ·A.· ·Certainly.
    ·3· ·Q.· ·Okay.· You want to charge me extra for that?
    ·4· ·A.· ·No, no, no.
    ·5· ·Q.· ·Okay.· Just so I'll know what it looks like.
    ·6· ·A.· ·I'm holding it right there.
    ·7· ·Q.· ·Yeah, I see that.· But just so I can have a copy for
    ·8· ·my file.
    ·9· ·A.· ·Okay.
    10· ·Q.· ·Thank you.
    11· ·A.· ·Well, she can make a         -
    12· ·Q.· ·And, for the record, can you just tell me what the
    13· ·name of your book was again?
    14· ·A.· ·"Investigation and Prevention of Office-Involved
    15· ·Deaths."
    16· ·Q.· ·And I see, on footnote 1 in your report, on page 9,
    17· ·you reference Chapter 4 of that book?
    18· ·A.· ·That probably is on excited delirium if I           -
    19· ·Q.· ·Well, that's what I was going to ask you.· What's
    20· ·the subject matter of Chapter 4?
    21· ·A.· ·I'm· - Chapter 4· - Chapter 5, excited delirium.            I
    22· ·footnoted Chapter 4?
    23· ·Q.· ·Yes, sir.· I'm looking at footnote 1 on page 9 of --
    24· ·A.· ·Yes.
    25· ·Q.· ·-- your report.


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    ·1· ·A.· ·Yes, you are and you're· - that's a mistake in my
    ·2· ·report.· It should've been Chapter 5,· cause Chapter 4
    ·3· ·was on emergency vehicle operations and, clearly, that's
    ·4· ·not relevant to this case.
    ·5· ·Q.· ·It's a good thing I asked the question then.
    ·6· ·A.· ·Yes.
    ·7· ·Q.· ·Okay.· So it should've been --
    ·8· ·A.· ·It should be --
    ·9· ·Q.· ·-- 5, which is excited delirium?
    10· ·A.· ·Right.· Thank you.
    11· · · · · · ·MS. TYK:· The two papers on excited delirium,
    12· ·do you have copies of those with you today?
    13· · · · · · ·THE WITNESS:· Yes.
    14· · · · · · ·MS. TYK:· Do you mind if I take a look at
    15· ·those?
    16· · · · · · ·THE WITNESS:· Okay.· Hold on a minute here.
    17· ·You're wanting what now?
    18· · · · · · ·MS. TYK:· The two articles on excited delirium.
    19· · · · · · ·THE WITNESS:· There's --
    20· · · · · · ·MS. TYK:· That you said you brought.· They were
    21· ·footnoted.
    22· · · · · · ·THE WITNESS:· Yes.
    23· · · · · · ·MS. BARRANCO:· Is that Julie speaking, just so
    24· ·I know?
    25· · · · · · ·MS. TYK:· Yeah.· I just asked for the copies of


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    ·1· ·the articles on excited delirium that he footnotes.           I
    ·2· ·was going to take a look at them.
    ·3· · · · · · ·MS. BARRANCO:· Right.· Thank you.
    ·4· · · · · · ·MS. TYK:· Um-hmm.
    ·5· · · · BY MS. BARRANCO:
    ·6· ·Q.· ·All right.· And, Mr. Tucker, so is Chapter 5,
    ·7· ·dealing with excited delirium, is that the only chapter
    ·8· ·you refer to from your book in regard to the Docher case?
    ·9· ·A.· ·Yes.· I have --
    10· ·Q.· ·How many pages      -
    11· ·A.· ·I· - excuse me.· I have chapters in the book.· For
    12· ·example, Chapter 7 is on positional asphyxia and I -- I
    13· ·most· - I've relied upon my own experience and training
    14· ·over the years and numerous documents, but excited
    15· ·delirium was what I was particularly looking at in this
    16· ·case.· That's it.
    17· ·Q.· ·How many pages is Chapter 5?
    18· ·A.· ·How many cases?
    19· ·Q.· ·No.· How many pages --
    20· ·A.· ·Oh.
    21· ·Q.· ·-- is Chapter 5?
    22· ·A.· ·It ranges· - it goes from page 97 to 111.· So it's
    23· ·not very long.
    24· ·Q.· ·Okay.· Thank you.
    25· ·A.· ·12, 13.


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    ·1· ·Q.· ·I don't suppose you'd be willing to make a copy of
    ·2· ·that chapter for me and include that in the materials?
    ·3· ·A.· ·If they want to take the time to copy it, that's
    ·4· ·fine.· If she· - I don't have a problem with that.
    ·5· ·Q.· ·Thank you.· All right.· And the other materials that
    ·6· ·you brought to your deposition today, Mr. Tucker, in what
    ·7· ·format have they been produced?· Are they hard copies or
    ·8· ·on a disc?
    ·9· ·A.· ·No, they're hard copies, which the attorney here for
    10· ·the fire district is looking at right now.· There's
    11· ·another policy from the IACP on excited delirium and a
    12· ·Force Science Newsletter· - Force Science Center
    13· ·Newsletter #29.· That's also on excited delirium.
    14· ·Q.· ·Okay.· But then you've got plenty of other
    15· ·materials, correct?
    16· ·A.· ·I've got all the materials that I reviewed, yes.
    17· ·Q.· ·Okay.· And that's what I was wondering.· Is that            -
    18· ·I wanted to attach to your deposition here today, as
    19· ·Exhibit C, any items you brought in response to the duces
    20· ·tecum portion of the notice and I wasn't sure how we were
    21· ·going to accomplish that.
    22· ·A.· ·Well, if you're asking me· - what I have is a huge
    23· ·file box here, probably thousands of pages, sitting here
    24· ·on the floor beside me, and DVDs and all that.· I brought
    25· ·the entire file which -- of all the materials that are


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    ·1· ·listed on Appendix C with me today.· That's it.
    ·2· ·Q.· ·Okay.· Do you have those items also electronically
    ·3· ·maintained somewhere?
    ·4· ·A.· ·No.· Some of --
    ·5· ·Q.· ·They're all just --
    ·6· ·A.· ·Some I do, some I don't.· For example, some of the
    ·7· ·depositions I received electronically, a couple of them I
    ·8· ·received hard copy, primarily· cause I was traveling in
    ·9· ·the last month and they emailed them to me.· And so, some
    10· ·of it's hard copy, some of it's not.
    11· ·Q.· ·Well, let me just clarify then.· The items that
    12· ·you've brought with you today, are they· - they're all
    13· ·marked· - or I should say listed on Appendix C to your
    14· ·report as well as the items that are footnoted in your
    15· ·report.· Is that correct?
    16· ·A.· ·That is correct.
    17· · · · · · ·MR. VITALE:· Objection.
    18· · · · · · ·THE WITNESS:· That's correct.
    19· ·Q.· ·Is there anything else you brought that's not either
    20· ·listed on Appendix C or as a footnote in your report?
    21· ·A.· ·Well, I have my communication file, which is
    22· ·communication between myself and the Searcy law firm,
    23· ·which is privileged under the rules, so I· - and I have a
    24· ·little sheet of paper with· - that I put together with
    25· ·the parties that are involved so I can keep them


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    ·1· ·straight, for example, Mark Wayne Brown, CVS employee,
    ·2· ·that sort of thing.
    ·3· ·Q.· ·Now the communications file you mentioned, did you
    ·4· ·rely on any of the communications in coming up with your
    ·5· ·opinions?
    ·6· ·A.· ·Absolutely not.
    ·7· ·Q.· ·So your testimony is that communications file had
    ·8· ·nothing to with ultimately what your opinions were or
    ·9· ·will be in this case?
    10· ·A.· ·You asked the question earlier whether I've been
    11· ·provided any direction.· No.· Nothing in that
    12· ·communications file· - it's a file that says enclosed
    13· ·herewith are additional materials for you to review in
    14· ·preparation of the report for this case.· Boom.· That's
    15· ·it.· And then I would have materials.· Or enclosed
    16· ·herewith is your retainer check.· That's basically what
    17· ·the file is.
    18· ·Q.· ·Okay.· Thank you.· Do you know how many active cases
    19· ·you're currently working on, Mr. Tucker?
    20· ·A.· ·I know absolutely how many,· cause I'm --
    21· ·Q.· ·Can you tell me?
    22· ·A.· ·Because I'm trying to retire, I have stopped
    23· ·accepting cases and it has now dropped down to 41 active
    24· ·cases, of which 12 of those cases are cases that are on
    25· ·appeal.· So you can do the math on that to determine how


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    ·1· ·many are otherwise active.
    ·2· ·Q.· ·And when was it that you stopped taking new case?
    ·3· ·A.· ·I started trying to not take new cases about a year
    ·4· ·ago.· Unfortunately, or fortunately, depending on
    ·5· ·perspective, I have a couple of attorneys that I've
    ·6· ·worked for a lot, like Robert Phillips, in South
    ·7· ·Carolina, who just sends me a file and a check and says
    ·8· ·looking forward to your report.· And so, you know, I
    ·9· ·stopped· - I've had a couple of those happen.· But I've
    10· ·been trying to not accept cases for about the last year
    11· ·and have reduced my case load from 60-something down to
    12· ·40.
    13· ·Q· · Okay.
    14· ·A.· ·I found the      -
    15· ·Q.· ·Now is the      -
    16· ·A.· ·I found that, to get out of this business, you
    17· ·either have to do one of two things, die or stop
    18· ·accepting cases, and it'll take three or so years or
    19· ·longer.· I have one -- just for the interest part of it
    20· ·-· I go to trial in October, in Toronto, Canada, that I
    21· ·was retained on in 2007.· It's been going on 10 years.
    22· ·Q.· ·Now litigation does tend to do that sometimes,
    23· ·doesn't it?
    24· ·A.· ·Apparently so.
    25· ·Q.· ·Well, hopefully, you'll get to retire and not die


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    ·1· ·shortly thereafter.· I know sometimes we've lost some
    ·2· ·experts because they passed away or they have a stroke or
    ·3· ·something, which is      -
    ·4· ·A.· ·Right.
    ·5· ·Q.· ·-- not the way you want to retire, if you can help
    ·6· ·it anyway.· All right.· Well, I want to turn now to your
    ·7· ·report in this case and I notice, at page 2, you have a
    ·8· ·heading of "Specific Qualifications to Provide Opinions
    ·9· ·on the Facts of this Case."
    10· ·A.· ·Right.
    11· ·Q.· ·Are you at that spot there?· And you make mention,
    12· ·about three sentence or paragraphs down, that you were
    13· ·certified· - or was certified until September 2009 on
    14· ·most use of force disciplines.
    15· ·A.· ·Right.
    16· ·Q.· ·And my question is what do you mean by that?
    17· ·A.· ·Very simply, that I· - when I was in· - living in
    18· ·Tennessee, before I moved to North Carolina, I was
    19· ·retained by the Department of Homeland Security to train
    20· ·16 sheriff's departments in east Tennessee on use of
    21· ·force.· And so, to do that, I had to send the· - an
    22· ·outline of the curriculum that I would be teaching and my
    23· ·qualifications, and all that, to the state of Tennessee
    24· ·so they could certify the course so the officers would
    25· ·get paid the incentive money for going to the courses.


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    ·1· · · · · · · · · So I updated all my certifications at that
    ·2· ·point, which is firearms, which I'm still certified.            I
    ·3· ·have a retired law enforcement officer's concealed carry
    ·4· ·permit.· I just qualified again last December.· But, at
    ·5· ·that time, I updated myself on the baton -- police baton,
    ·6· ·defensive tactics, oleoresin capsicum, pepper spray or
    ·7· ·OC, and the X26 and M26 tasers.· Those are the
    ·8· ·certifications that I'm talking about.
    ·9· · · · · · · · · And so, when I moved to North Carolina in
    10· ·2008, I did not renew any of that for two reasons.· One,
    11· ·I wasn't going to be doing anymore training like that
    12· ·and, two, I'm too dog-gone old to get shocked and pepper
    13· ·sprayed anymore.· And so, I don't do that.
    14· ·Q.· ·And in order to maintain your certifications, you
    15· ·would've had to be shocked and peppered sprayed?
    16· ·A.· ·Well, that -- it was voluntary, but, you know -- you
    17· ·know how it is.· Yeah.· You --
    18· ·Q.· ·Well, when you're the expert, it's hard to say no, I
    19· ·don't want to do that?
    20· ·A.· ·Right.
    21· ·Q.· ·Got it.
    22· ·A.· ·Back then.· Now I can say no.
    23· ·Q.· ·Yeah.· No is a good word sometimes.· Now, in this
    24· ·Docher case, Mr. Tucker, there was no usage of tasers,
    25· ·correct?


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    ·1· ·A.· ·Right.
    ·2· ·Q.· ·And there was no usage of firearms?
    ·3· ·A.· ·No.
    ·4· ·Q.· ·Or OC spray?
    ·5· ·A.· ·That's correct.
    ·6· ·Q.· ·Or batons?
    ·7· ·A.· ·Correct.
    ·8· ·Q.· ·The usage of the -- the use of force by the deputies
    ·9· ·with Mr. Docher was limited to empty-hand tactics.· Is
    10· ·that correct?
    11· ·A.· ·Yes.· I would agree.· Empty hands would be the
    12· ·general category, but it dealt with, as I said, most
    13· ·significantly, elbow strikes to the head and the
    14· ·compression of a person handcuffed with their hands
    15· ·behind their back in the prone position, which is
    16· ·problematic too.
    17· ·Q.· ·Okay.· And we'll talk about that, but I just --
    18· ·A.· ·Sure.
    19· ·Q.· ·-- wanted to understand, in terms of the type of
    20· ·force that was being utilized by Deputies Newman,
    21· ·Mangrum, and Robinson, it didn't include a lot of the
    22· ·things that you just said you'd had some experience with
    23· ·in the past?
    24· ·A.· ·They're -- I only am talking about getting certified
    25· ·on the tools of policing in terms of use of force.


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    ·1· ·That's what that is referring to there.
    ·2· ·Q.· ·Okay.· Now moving on to page 3 of your report, Mr.
    ·3· ·Tucker, --
    ·4· ·A.· ·Yes.
    ·5· ·Q.· ·-- I see at the top you've got a topic that says --
    ·6· ·or a heading that says "Objectivity."
    ·7· ·A.· ·Right.
    ·8· ·Q.· ·What did you mean by objectivity?
    ·9· ·A.· ·Well, the -- I have come across experts that didn't
    10· ·last very long, that when they were being deposed, they
    11· ·said well, I never will take a case against the police
    12· ·department.· Well, that doesn't show objectivity.· They
    13· ·don't care what the facts are.· They wouldn't take a case
    14· ·against the police or the reverse.
    15· · · · · · · · · So what I'm saying there is that, if
    16· ·you're an expert, you have to be willing to take cases
    17· ·from either plaintiffs or defense and your testimony is
    18· ·based upon what the facts of that particular case are.
    19· ·And, over the time of the past 20 years, I'm saying that
    20· ·my trial and deposition testimony has been 70% plaintiff,
    21· ·30% defense.· That's over the entire time period because,
    22· ·when I first started, it was almost all -- as a recently
    23· ·retired police chief, it was almost all defense work, but
    24· ·then I give you Appendix B, which shows you what my
    25· ·testimony has been for the past four years.


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    ·1· ·Q.· ·Well -- and let's talk about that.· That Exhibit B,
    ·2· ·that's your cases that you have told me about for about
    ·3· ·the last four years or so.· When you look at that list,
    ·4· ·you've got about 57 cases there and isn't it true that in
    ·5· ·about 95% of those cases, you were called on behalf of
    ·6· ·the plaintiff's side?
    ·7· ·A.· ·That's exactly correct.· It's been trending
    ·8· ·plaintiff, but a lot of the cases that I've had for the
    ·9· ·defense have settled or they've received a summary
    10· ·judgment.· And so, I was never deposed or testified in
    11· ·trial on.· So it's· - but I think you're correct, without
    12· ·a question, that that's what it's been for the last four
    13· ·years.
    14· ·Q.· ·Okay.· And then, in looking at the cases there, I
    15· ·saw dates ranging from 2007 to 2015.· I'm assuming some
    16· ·of those cases just were older and they took a while to
    17· ·get to trial, which is why they'd still be on your list?
    18· ·A.· ·Yes.
    19· ·Q.· ·Okay.· Now if we go to page 4 of your report, I see
    20· ·you've got a heading of "Summary of Assumed Facts"?
    21· ·A.· ·Right.
    22· ·Q.· ·And you say there the facts in this case that are
    23· ·relevant to my opinions are summarized in Appendix D to
    24· ·this report and I see --
    25· ·A.· ·Well, before --


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    ·1· ·Q.· ·Go ahead.
    ·2· ·A.· ·Before you can develop opinions in the case, you'll
    ·3· ·have -- you have to assume something to be true for
    ·4· ·purposes of analysis.· So what I do is review the
    ·5· ·materials that I've received and then I usually make a
    ·6· ·little bit of a summary of assumed facts and that is what
    ·7· ·Appendix D is in this particular case.
    ·8· ·Q.· ·Okay.· So if I were to assume that Appendix D are
    ·9· ·all of the facts relevant to your opinions, would that be
    10· ·correct?
    11· ·A.· ·Probably not.· Like I said, it's a summary.· So it
    12· ·-- my report is what you could consider to be taking into
    13· ·consideration all of the facts, but a summary's a
    14· ·summary, you know.· I tried to list those things which
    15· ·allow me to make sense out of the materials that I
    16· ·reviewed when I look back at it and that's what I've
    17· ·provided in Appendix D.
    18· ·Q.· ·Okay.· And Appendix D is your -- is it correct that
    19· ·it's about a page -- it's a little short of two pages?
    20· ·It's about a page and three-quarters?
    21· ·A.· ·That's correct.
    22· ·Q.· ·Are there any -- I know you said it's a summary of
    23· ·the facts.· Are there any facts that, for whatever
    24· ·reason, isn't contained in the summary --
    25· ·A.· ·Well, I --


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    ·1· ·Q.· ·-- or is it just really what's relevant?
    ·2· ·A.· ·Right.· I already mentioned the -- one of those,
    ·3· ·facts, of course, that I didn't learn about until I read
    ·4· ·Mangrum's deposition, that he also delivered a elbow
    ·5· ·strike to the head of Docher.· So, obviously, that's not
    ·6· ·in the facts assumed because I didn't know about it at
    ·7· ·point in time.
    ·8· ·Q.· ·Sure.· Was there any· - is there anything else
    ·9· ·though that you can think of?
    10· ·A.· ·No.· I don't think so.· That's -- I think it's -
    11· · · · · · ·MR. VITALE:· Objection.
    12· ·A.· ·It is what it is, a summary.
    13· ·Q.· ·Okay.· And then I'm looking at page 2 of that
    14· ·Appendix D.
    15· ·A.· ·Yes.
    16· ·Q.· ·My copy of it ends with a reference to witness
    17· ·Shannon Randolph.· It looks like a quote from her, but
    18· ·there's no end punctuation or end quotes and I'm
    19· ·wondering if your version is the same way or if I'm
    20· ·missing something.
    21· ·A.· ·No.· I don't think you're missing anything.           I
    22· ·should've had a period quote· - closed quotes there.            I
    23· ·put down, in the summary, what independent witnesses
    24· ·said.· Clearly, that witness's interpretation of what
    25· ·beating the shit out of someone is not relevant to me.              I


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    ·1· · - you know, I have to consider the matter in· - against
    ·2· ·recognized police protocols.
    ·3· · · · · · · · · And so, like I said earlier, my
    ·4· ·preliminary opinions are 90% or more based· - I don't
    ·5· ·know how to put a percentage on it· - based on the
    ·6· ·officer's own testimony in re· - I mean their own
    ·7· ·statements and their incident reports, and that sort of
    ·8· ·thing, and depositions.
    ·9· ·Q.· ·Okay.· So I just wanted to make sure there wasn't
    10· ·anything cut off here from Appendix D.· You're just
    11· ·saying that there should've been a period and an end
    12· ·quote?
    13· ·A.· ·I· - that was just a mistake on my part for not
    14· ·putting a period and quote, just like on my page 1, I              -
    15· ·under retention, in the second paragraph, I put Ocher
    16· ·instead of Docher, you know.· I          -
    17· ·Q.· ·Okay.
    18· ·A.· ·-- made some       -
    19· ·Q.· ·Where was that?· I didn't see that one.
    20· ·A.· ·Pointing out a mistake on my report, page 1, under
    21· ·retention, where it says the force used against Tavares
    22· · - it says O --
    23· ·Q.· ·O --
    24· ·A.· ·-- C-H-E-R.· It should be D-O-C-H-E-R.
    25· ·Q.· ·Thank you.· Yeah.· I didn't see that.· All right.


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    ·1· ·Now page 2 of Appendix D, we were just kind of talking
    ·2· ·about that.· You were· - I notice that you have reference
    ·3· ·to civilian· - some civilian witnesses.· To what extent
    ·4· ·did the civilian witnesses testimonies play a role in
    ·5· ·your opinions in this case?
    ·6· ·A.· ·Well, they support the officer's own opinions           -
    ·7· ·their own statements that elbow strikes· - for example,
    ·8· ·Ariana Kanhai, the citizen, said the deputy by the man's
    ·9· ·head kept hitting him with his elbows and that's
    10· ·consistent with the officer's own statements.· The same
    11· ·thing with Zackary Taylor, the hitting the man with their
    12· ·elbows, consistent.· The· - it just supports the version
    13· ·of the officers in their reports themselves.
    14· ·Q.· ·I know you mentioned too· - and this might come up
    15· ·later with the excited delirium portion of your opinion,
    16· ·but I see, again, looking at your Appendix D, page 2, you
    17· ·reference, toward the end, according to witness Leah
    18· ·Boles, Docher was "delusional and paranoial" and "very
    19· ·sweaty" and not acting normal.
    20· ·A.· ·Yeah.· Those are all         -
    21· ·Q.· ·And then     -
    22· ·A.· ·Those are all symptoms of excited delirium, just as
    23· ·pacing nervous and delirious, talking murder, ransom, and
    24· ·rewards, from Samantha Gileweski.· Those are symptoms of
    25· ·excited delirium that officers are trained to recognize


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    ·1· ·and when they recognize it as excited delirium, the
    ·2· ·protocols are well-established as to what you should do
    ·3· ·at that point, which they didn't do, but we'll go into
    ·4· ·that I'm sure.
    ·5· ·Q.· ·Okay.· Well, you do understand, Mr. Tucker, that Ms.
    ·6· ·Boles and Ms. Gileweski, those were both CVS employees
    ·7· ·who were working inside the store when they saw Mr.
    ·8· ·Docher behaving as they reported.· Is that correct?
    ·9· ·A.· ·That is correct.
    10· · · · · · ·MR. VITALE:· Objection.
    11· ·Q.· ·And you -- were the deputies present at that time
    12· ·based on your understanding?
    13· ·A.· ·Were the deputies present at that time?· No.
    14· ·Q.· ·Do you know if Ms. Boles or Ms. Gileweski ever
    15· ·witnessed Mr. Docher's conduct outside of the CVS?
    16· ·A.· ·Not that I recall.· One of the things that you do as
    17· ·a police officer when you respond to a call is you try --
    18· ·you do a fast preliminary investigation, which typically
    19· ·would be to talk to the complainant, and since there were
    20· ·three deputies on this call -- Newman, Mangrum, and
    21· ·Robinson were riding together and then Newman was
    22· ·separate -- one of those deputies typically would have
    23· ·talked to the employees in the store asked well, what did
    24· ·you see, what's been happening, and would've learned
    25· ·these things -- delusional, paranoial, sweating,


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    ·1· ·etcetera.· Those are all indicators. when you're doing a
    ·2· ·preliminary investigation. as to what you're getting
    ·3· ·ready to deal with, which is excited delirium, and if
    ·4· ·it's -- you've got those symptoms, before you take any
    ·5· ·law enforcement action, you get medical personnel to the
    ·6· ·scene as a matter of protocol because any kind of a
    ·7· ·struggle with that person who's exhibiting the symptoms
    ·8· ·of excited delirium and restraint has been shown to be
    ·9· ·very, very dangerous.
    10· · · · · · · · · So that's why we say it's a medical
    11· ·emergency when you do recognize that.· Instead, the
    12· ·officers made a decision to arrest, even though there's
    13· ·confusion on that.· As Newman says, he didn't make an
    14· ·arrest.· The reports say he did.· But, in any case, the
    15· ·fact is these were things that witnesses saw and somebody
    16· ·should've talked to them.
    17· ·Q.· ·Now, Mr. Tucker, I understand what you're saying,
    18· ·but in terms of those witnesses, if they're busy working
    19· ·inside the CVS, is it your position then that the deputy
    20· ·should've just stood by and waited until they were able
    21· ·to determine any witness that might've had any
    22· ·interaction with Mr. Docher and made Mr. Docher kind of
    23· ·just wait at their car until they could gather all of
    24· ·this information before making any plan?
    25· ·A.· ·No.· My -- it's real simple, that one deputy would


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    ·1· ·go to talk to the complainants· - the complainant or
    ·2· ·complainants and that's not chasing somebody around the
    ·3· ·store, but just answering· - asking a couple simple
    ·4· ·questions:· what did you observe about this individual?
    ·5· ·What do we have here?· Do we have a crime?· Do we have a
    ·6· ·mentally ill person?· Do we have an intoxicated person?
    ·7· ·Do we have somebody exhibiting the symptoms of excited
    ·8· ·delirium?· That's what one deputy should've been doing
    ·9· ·while the other two communicated, maybe, with Docher,
    10· ·just keep things calm until they got an understanding of
    11· ·what the circumstances were.
    12· · · · · · · · · Were they dealing with a crime?· No.· Were
    13· ·they dealing with an intoxicated person or were they
    14· ·dealing with a mentally ill person or were they dealing
    15· ·with somebody exhibiting the symptoms of excited
    16· ·delirium?· That's· - those are questions that typically
    17· ·officers try to answer before they start taking any kind
    18· ·of action, if possible, and, in this case, it was
    19· ·possible because they didn't have any problems at all
    20· ·until they were placing him in the car after he was
    21· ·handcuffed and then that's when he ran.· They had plenty
    22· ·of time to have made an inquiry of the people in the
    23· ·store as to what they saw.
    24· ·Q.· ·Well, you mentioned that the deputies should've made
    25· ·contact with the complainant.· Wasn't the complainant Mr.


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    ·1· ·Docher?
    ·2· ·A.· ·Well, Mr. Docher asked the -- Mr. Brown to call 911
    ·3· ·and he needed help and Mr. Brown did that and then handed
    ·4· ·the phone to Docher and then, after that, the other
    ·5· ·people got involved, including the store manager,
    ·6· ·etcetera.· So yeah, Docher was originally the one that
    ·7· ·said he needed help.
    ·8· ·Q.· ·And is it your understanding that there was nobody,
    ·9· ·other than the deputies and Mr. Docher, that actually
    10· ·witnessed the entire event that transpired between Mr.
    11· ·Docher and these deputies?
    12· ·A.· ·Well, I'm not sure I understand that question.
    13· ·Q.· ·I can rephrase.
    14· ·A.· ·Go ahead.
    15· ·Q.· ·Do you know of any witnesses, other than the
    16· ·deputies themselves and Mr. Docher, that witnessed the
    17· ·entire interaction between Mr. Docher and the deputies?
    18· ·A.· ·Gees, I· - I'm trying to recall, but it seems like
    19· ·there was somebody there that was videotaping it and one
    20· ·of the deputies seized his video camera, took it from
    21· ·him, and as· - so-called as evidence.· So I don't know,
    22· ·but, like I said, what anybody else witnessed, the entire
    23· ·event, what I'm relying on is what the officers· - the
    24· ·deputies themselves said happened and what they did and
    25· ·why they did it.


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    ·1· ·Q.· ·Okay.· So even though you've read the depositions
    ·2· ·and the statements of these witnesses, the CVS employees,
    ·3· ·the civilian witnesses outside, you can't tell me whether
    ·4· ·any of them saw the entire event or not, is that right?
    ·5· ·A.· ·I can tell you from my remembrance of reading their
    ·6· ·depositions.· For example, the store manager, Mr. --
    ·7· ·Q.· ·Bhagudas?
    ·8· ·A.· ·-- Bhagudas, he said that after he left the           -
    ·9· ·Docher left the store, he went about his· - he didn't see
    10· ·what happened in the parking lot.· I think that's the
    11· ·same thing for Wayne Brown.· I think that's the same
    12· ·thing for Samantha Gileweski.· So I think it's clear that
    13· ·they went about their business, did not go out into the
    14· ·parking lot and observe all the events.
    15· ·Q.· ·Now do you recall though that Mr. Bhagudas, who was
    16· ·the store manager, felt compelled to go out to the
    17· ·deputies briefly to let them know that Mr. Docher had a
    18· ·screw driver in his possession?
    19· ·A.· ·I do recall that and I thought that was, you know,
    20· ·of course, entirely appropriate.· It was a safety matter
    21· ·as far as he saw and he did tell the deputies and the
    22· ·deputies did tell him to put the screwdriver down, which
    23· ·he did comply, and then they kicked it out of the way.
    24· ·All of that's· - no problem with any of that.
    25· ·Q.· ·Because originally· - or initially, Mr. Docher was


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    ·1· ·cooperative with the deputies, right?
    ·2· ·A.· ·Yes, he was.· And, you know, you mentioned earlier
    ·3· ·that Docher's the one himself who said call 911.· I think
    ·4· ·that's a significant fact for the deputies to have
    ·5· ·understood and it's not clear to me whether they
    ·6· ·understood -- that was communicated to them or not.· But
    ·7· ·when somebody calls and says would you· - when somebody
    ·8· ·says please call 911 for me, I need help, that's an
    ·9· ·indication that it's not a crime.· It's somebody who's
    10· ·got a mental health problem going on or a medical problem
    11· ·going on,· cause they ve asked for someone to call 911 to
    12· ·help.
    13· ·Q.· ·Well, would you agree with me though that, just
    14· ·because somebody's asking for 911 to be called, it
    15· ·doesn't always mean that somebody's mentally ill or needs
    16· ·medical assistance, right?
    17· ·A.· ·Any question that you ask me today that uses terms
    18· ·like always, I'm going to answer the same way, which is
    19· ·anything is possible.· I've heard of people calling 911
    20· ·because McDonald's didn't give them two scoops of ice
    21· ·cream on their cone.· Clearly, anything's possible.· But
    22· ·the fact is that, when a person calls 911 themselves or
    23· ·asks for someone to call 911, that should be of interest
    24· ·to the officers who responded to understand that this is
    25· ·a person seeking help.


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    ·1· ·Q.· ·Okay.· Well, let me ask you about your Appendix C
    ·2· ·again, the materials reviewed.
    ·3· ·A.· ·Okay.
    ·4· ·Q.· ·I see mentioned· - I'll give you a minute to get
    ·5· ·there.· Appendix C to your report.
    ·6· ·A.· ·All right.
    ·7· ·Q.· ·And there's mention, at number 13, of five discs
    ·8· ·containing police reports, articles, event reports,
    ·9· ·witness statements, CVS video/phone audio, 911 audio,
    10· ·audio/video witness statements, and photos and witness
    11· ·statements.
    12· ·A.· ·Right.
    13· ·Q.· ·Do you see what I'm reading from?
    14· ·A.· ·Yes.· I re      -
    15· ·Q.· ·Do you know where those five discs came from?
    16· ·A.· ·Well, I have them here.· ·I would assume the five
    17· ·discs were all provided to me from the· - they're marked
    18· ·Searcy, Denney, Scarola law firm, photos and witness
    19· ·statements, CVS video/phone video, copied from CD.· All
    20· ·of it's marked, so         -
    21· ·Q.· ·So     -
    22· ·A.· ·Marked Searcy, Denney, Scarola.
    23· ·Q.· ·Okay.
    24· ·A.· ·So --
    25· ·Q.· ·But you don't know where they got those five discs


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    ·1· ·from?
    ·2· ·A.· ·Well, they would've had to have gotten them from
    ·3· ·either the sheriff's department or CVS, because how               -
    ·4· ·otherwise, they wouldn't have been able to get it.
    ·5· ·Q.· ·Or their private investigator?
    ·6· · · · · · ·MR. VITALE:· Objection to form.
    ·7· ·A.· ·I don't know.
    ·8· ·Q.· ·And were you aware, Mr. Tucker, that some of the
    ·9· ·statements you were provided were taken by the Searcy
    10· ·Denney's private investigator?
    11· ·A.· ·Yes.· I'm totally aware of that.
    12· ·Q.· ·Okay.· Now what I really also wanted to know is the
    13· ·reference to the videos, I wanted to understand, Mr.
    14· ·Tucker, what videos· - and I don't mean videos of
    15· ·depositions or videos of interviews, but I want to know
    16· ·what videos from the scene have you ever reviewed.
    17· ·A.· ·That's· - I'm going by strictly memory now.            I
    18· ·didn't review it in preparation for this deposition.· So
    19· ·the last time I looked at it would've been sometime in
    20· ·April or May.· But I do recall videos.· It was a couple
    21· ·of minutes of the struggle with Docher in the parking
    22· ·lot, if I recall -- a couple minutes.· That's primarily
    23· ·what I remember.
    24· ·Q.· ·Now my understanding is there is a short cell phone
    25· ·video taken by one of the individuals that was in front


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    ·1· ·of the CVS.
    ·2· ·A.· ·Right.
    ·3· ·Q.· ·It was a minute or so long.· I don't remember
    ·4· ·specifically how long it was, but it wasn't particularly
    ·5· ·long.· Do you know if you saw that video?
    ·6· ·A.· ·Well, certainly, it was referenced in one of the
    ·7· ·depositions, the deposition of the officer who seized the
    ·8· ·Iphone from that citizen, and I think he said it was a
    ·9· ·minute and nine seconds long, but· - and I may have
    10· ·reviewed it, but, you know, again, I can't emphasize
    11· ·enough that my opinions are substantially and almost
    12· ·totally based upon the officers own testimony in
    13· ·deposition or their reports, because video, although some
    14· ·of it is good, you know, a lot of times, it's really
    15· ·difficult to make out what the heck is going on.· But I
    16· ·did review one of those videos that I recall that showed
    17· ·part of the struggle.· I don't remember whether it was
    18· ·the citizen's· - it had to probably have been the
    19· ·citizen's video.
    20· ·Q.· ·Okay.· I know we were just talking about the cell
    21· ·phone video.· Do you recall· - I know it's been a while
    22· ·since you've seen it apparently, but do you recall what
    23· ·it showed?
    24· ·A.· ·Some of the struggle, the officers holding Docher
    25· ·down as I· - the deputies holding Docher down as I


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    ·1· ·recall.
    ·2· ·Q.· ·Okay.· Would you agree with me that it was not a
    ·3· ·videotape of the entire interaction from start to finish
    ·4· ·between the deputies and Mr. Docher?
    ·5· ·A.· ·I would agree with that.
    ·6· ·Q.· ·In fact, it was, like you said, only about a minute
    ·7· ·and nine seconds of the entirety of the event?
    ·8· ·A.· ·That's what I recall.· That's correct.
    ·9· ·Q.· ·Now have you ever seen any of what I'm going to call
    10· ·surveillance video, for lack of a better word, taken from
    11· ·the CVS store itself?
    12· ·A.· ·Not that I recall.
    13· ·Q.· ·Do you recall ever seeing any video showing Mr.
    14· ·Docher and the deputies falling to the ground in the
    15· ·parking lot?
    16· · · · · · ·MR. VITALE:· Objection to the form.
    17· ·A.· ·No, I don't.· I don't recall seeing any video of
    18· ·that.· I recall, very distinctly, the officer's
    19· ·deposition testimony and statement testimony of all three
    20· ·of them grabbing at him and all four of them falling to
    21· ·the ground, yeah.
    22· ·Q.· ·So it sounds like, if I'm understanding what your
    23· ·testimony is, you really are relying more on the
    24· ·deputies' recollection of the events from their
    25· ·depositions and statements more so than any of the video?


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    ·1· ·A.· ·Typically, I'm going to rely on the most significant
    ·2· ·information that I can get and that's, in this case, the
    ·3· ·deputies themselves, as to what they say happened and how
    ·4· ·it happened, and that's the problem for them because they
    ·5· ·describe the use of deadly force when it wasn't justified
    ·6· ·and they describe holding a person down in a prone
    ·7· ·position with hands cuffed behind their back, which is
    ·8· ·the so-called physiology of a struggle problem.
    ·9· ·Q.· ·And I know that's part of your· - some of your
    10· ·opinions, correct?
    11· ·A.· ·That is correct.
    12· ·Q.· ·Okay.· And I'll talk to you about those momentarily.
    13· ·Okay.· Let me turn now to your report again, page 4, your
    14· ·preliminary opinions, and have you already explained to
    15· ·me what you meant by preliminary opinions?
    16· ·A.· ·Yes.· What I did was titled my opinions as
    17· ·preliminary because I was told, when I filed my report on
    18· ·May the 16th, that I would be receiving additional
    19· ·information to review, including the deposition testimony
    20· ·of the officers.· So that's why I classified them as
    21· ·preliminary and figuring that I would, after reading the
    22· ·depositions, file a supplement report· - supplemental
    23· ·report finalizing my opinions.
    24· · · · · · · · · What I'm saying today is I still can't do
    25· ·that because, frankly, I just received, yesterday,


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    ·1· ·information that they'll be additional materials provided
    ·2· ·to me, which is the deposition testimony of whoever the
    ·3· ·corporate representative is for the St. Lucie County
    ·4· ·Sheriff's Department, and that will address the issue of
    ·5· ·whether or not there was an internal affairs
    ·6· ·investigation done, what the conclusion of the internal
    ·7· ·affairs investigation was, which I'll have to look at to
    ·8· ·determine whether there's a custom and practice in the
    ·9· ·St. Lucie County Sheriff's Department of condoning things
    10· ·like elbow strikes to the head or condoning excessive
    11· ·force.
    12· ·Q.· ·And so, am I understanding your testimony to be
    13· ·that, to date, you have not yet been asked to opine about
    14· ·any customs or policies of the St. Lucie County Sheriff's
    15· ·Office in relation to this case?
    16· ·A.· ·Well, typically, I don't get asked anyhow.
    17· ·Typically, because I've been doing this for 20 years, I
    18· ·know what to look for and what to look at, and custom and
    19· ·practice is always something that I look at, and I'm
    20· ·telling you that I can't make a determination on custom
    21· ·and practice right now because I have to wait until I see
    22· ·the testimony· - deposition testimony of the corporate
    23· ·representative from the sheriff's department.
    24· ·Q.· ·Okay.· Thank you.· Looking at your preliminary
    25· ·opinion number one, on page 4 of your report, Mr.


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    ·1· ·Tucker, --
    ·2· ·A.· ·Yes.
    ·3· ·Q.· ·-- and you mention or you state in there that, I
    ·4· ·guess, your preliminary opinion number one is that
    ·5· ·Deputies Newman, Mangrum, and Robinson, in the force that
    ·6· ·they used with Docher on May 11th, 2014, was excessive
    ·7· ·and unreasonable and was a greater level of force than
    ·8· ·other officers would've used in 2014 if confronted with
    ·9· ·the same or similar circumstances?
    10· ·A.· ·Yes.
    11· ·Q.· ·Is that correct?
    12· ·A.· ·Yes.
    13· ·Q.· ·Can you tell me what facts or data you rely on to
    14· ·come to that opinion?
    15· ·A.· ·Well, yes.· That's over· - under the analysis part,
    16· ·on page 5, where I say okay, let's· - what's the standard
    17· ·of care here on use of force and, clearly, it's the
    18· ·Graham v. Connor test, the U.S. Supreme Court decision,
    19· ·1989, and· - as to whether or not it's excessive force or
    20· ·not and, clearly, it says, in the Graham v. Connor case,
    21· ·that you have to take into consideration the totality of
    22· ·the circumstances, to include at least whether or not
    23· ·there was a crime at issue or the severity of the crime
    24· ·at issue.· In this case, we don't have a crime or, if we
    25· ·did, it would've been public intoxication apparently.


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    ·1· · · · · · · · · Whether there was posing an immediate
    ·2· ·threat, well, I don't think there was an immediate threat
    ·3· ·posed to the three deputies, to the safety of the
    ·4· ·officers, and whether he was actively resisting arrest,
    ·5· ·well, he was resisting when he fled, I guess, and           -
    ·6· ·without question.· So that factor's there.
    ·7· · · · · · · · · Then, you know, I cite the fact that in
    ·8· ·Florida· - and I have the· - attached, as Appendix E,
    ·9· ·right out of the Florida Basic Recruit Training
    10· ·Curriculum:· Volume 2, "Criminal Justice Defensive
    11· ·Tactics," page 291, and it clearly shows that a elbow
    12· ·strike taught in Florida· - and I served three and a half
    13· ·years as vice-chairman of the Criminal Justice Standards
    14· ·and Training Commission in Florida, so I'm familiar with
    15· ·all this.· Elbow strikes to specific areas can cause
    16· ·great bodily harm or death and target areas for deadly
    17· ·force include the following:· temple, the side of the
    18· ·jaw, the bridge of nose, back of the head, the throat.              I
    19· ·don't think it can be any clearer than that.
    20· · · · · · · · · So when you have Newman saying well, it
    21· ·wasn't deadly force, but I· - yeah, I delivered an elbow
    22· ·strike· - in fact, I delivered two and Mangrum saying
    23· ·yeah, well, and I delivered one too and I don't think it
    24· ·was deadly force, where did it come from when they say it
    25· ·wasn't deadly force?· Clearly, the training they received


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    ·1· · - or should've received and been aware of says elbow
    ·2· ·strikes to the head area, the temple, the side of the
    ·3· ·jaw, the bridge of the nose, the back of the head, the
    ·4· ·throat, it's deadly force.· That's excessive then, since
    ·5· ·deadly force was never justified and they admit, in their
    ·6· ·deposition testimony, that deadly force was never
    ·7· ·justified, but say well, deadly force was never justified
    ·8· ·and we didn't use deadly force because we don't consider
    ·9· ·elbow strikes to be deadly force -- elbow strikes to the
    10· ·head.
    11· ·Q.· ·Don't let me interrupt you.· Are you finished?
    12· ·A.· ·Yes.
    13· ·Q.· ·Okay.· Thank you.· Just so I understand, I know you
    14· ·were talking about the elbow strikes to the head.· Other
    15· ·than elbow strikes to the head by either Newman or
    16· ·Mangrum, do you take issue at any other uses of force by
    17· ·these three deputies?
    18· ·A.· ·Well, clearly the use of a· - holding a person in
    19· ·the prone position while their hands are cuffed behind
    20· ·their back after them seeing all these issues of symptoms
    21· ·of excited delirium or medical issues is excessive force.
    22· ·There were three deputies there at· - most of the time
    23· ·and four at another point, as I recall, to control Docher
    24· ·without holding him down in the prone position with
    25· ·compression on him, like Mangrum was 205 pounds at the


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    ·1· ·time.· That's compression.· So that's excessive too and I
    ·2· ·mentioned that in my report.
    ·3· ·Q.· ·Okay.· I just want to understand.· So besides the
    ·4· ·elbow strikes to the head and the compression issue that
    ·5· ·you just mentioned, is there any uses of force by these
    ·6· ·three deputies that you're taking issue with in regard to
    ·7· ·your opinions in this case?
    ·8· ·A.· ·No.· Handcuffing is not use of force.· It's just a
    ·9· ·restraint.· They didn't use OC, they didn't use night
    10· ·sticks, they didn't use tasers.· So the elbow strikes and
    11· ·the compression in the prone position with hands cuffed
    12· ·behind the back are my issues --
    13· ·Q.· ·Okay..
    14· ·A.· ·-- with what they did.
    15· ·Q.· ·Thank you.· Now you mentioned that no crime had been
    16· ·committed here.· Is that what you said a moment ago?
    17· ·A.· ·Well, I said that there was no crime, in my opinion,
    18· ·given the fact that it started off with Docher asking to
    19· ·have the 911 called on his own, but if there was any
    20· ·crime at all, it would've been Florida's disorderly
    21· ·intoxication and that's a second-degree misdemeanor,
    22· ·which is a minor crime, and I think that's what he ended
    23· ·up being charged with, if I'm not mistaken, in the case.
    24· ·Q.· ·Well, --
    25· ·A.· ·A very insignificant, minor crime, which would


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    ·1· ·certainly not justify -- you know, it's one of those
    ·2· ·factors that Graham v. Connor says you should look at,
    ·3· ·severity of the crime at issue, when you're making a
    ·4· ·determination as to whether or not the use of force was
    ·5· ·excessive or not.
    ·6· ·Q.· ·Sure.· But I see in your analysis, on page 5 of your
    ·7· ·report, Mr. Tucker, --
    ·8· ·A.· ·Yes.
    ·9· ·Q.· ·-- that you specifically say here, before the
    10· ·deputies used force, the only crime Docher had committed
    11· ·was disorderly intoxication.
    12· ·A.· ·Right.
    13· ·Q.· ·So you admitted that he had committed that crime at
    14· ·least, correct?
    15· ·A.· ·Well, as I already said, that's what they charged
    16· ·him with.· So, clearly, they thought he was· - in fact,
    17· ·they made the determination, as I recall, that they would
    18· ·take him into custody for that, as opposed to a mental
    19· ·health or medical treatment.
    20· ·Q.· ·Okay.· Well, once he's in custody, Mr. Tucker,
    21· ·wouldn't you agree that, if he's fleeing from their
    22· ·custody and bolting out of the back seat of the patrol
    23· ·car, that's a violation of the law as well, right?
    24· ·A.· ·It is.· As I said earlier, that's· - that factor was
    25· ·there.· He was evading arrest by flight.


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    ·1· ·Q.· ·Escape?
    ·2· ·A.· ·Escape?
    ·3· ·Q.· ·Yeah.
    ·4· ·A.· ·I    -
    ·5· ·Q.· ·Wouldn't that be,         -
    ·6· ·A.· ·I don't· - I --
    ·7· ·Q.· ·-- under Florida law, --
    ·8· ·A.· ·I wouldn't      -
    ·9· ·Q.· ·I think the Florida -- sorry to interrupt you.
    10· ·A.· ·I'm not a lawyer and I don't render legal
    11· ·conclusions as to whether or not that would meet the
    12· ·definition of escape in Florida or not.· So it certainly
    13· ·was evading the officers.
    14· ·Q.· ·Okay.· Well, were you aware· - I know you're not a
    15· ·lawyer, but were you aware that a violation of Florida
    16· ·Statute 944.40, which is entitled escape, would be a
    17· ·second-degree felony in the state of Florida?
    18· · · · · · ·MR. VITALE:· Objection to the form.
    19· ·A.· ·No.· And, as I said, I did not· - I'm not a lawyer
    20· ·and I didn't look at that.
    21· ·Q.· ·Okay.· Now let me ask you then· - so you were
    22· ·telling me about the elbow strikes to the head, page 5 of
    23· ·your report, and you just told us a moment ago you
    24· ·referred to, it looks like, Appendix E about elbow
    25· ·strikes to the head being deadly force.


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    ·1· ·A.· ·Yes.
    ·2· ·Q.· ·Is it your opinion, Mr. Tucker, that all elbow
    ·3· ·strikes to the head are deadly force?
    ·4· ·A.· ·No.· I· - it is my opinion that the officers in
    ·5· ·Florida received training, in the basic recruit training
    ·6· ·curriculum, that deadly force elbow strikes· - that elbow
    ·7· ·strikes can be deadly force if delivered to the temple,
    ·8· ·the side of the jaw, the bridge of the nose, the back of
    ·9· ·the head, or to the throat, and it includes those· - at
    10· ·least includes those.· That's not a -- that -- the way I
    11· ·read that, it's not an inclusive list, but it's examples
    12· ·of that.
    13· · · · · · · · · It is my experience, in law enforcement,
    14· ·that when you're talking about an elbow strike, a bony
    15· ·part of the elbow, that's exactly the reason· - the
    16· ·equivalent of a baton strike, a wooden or a metal baton,
    17· ·and that's exactly the reason why baton strikes to the
    18· ·head area· - and it doesn't say the temple, the back of
    19· ·the head, or the throat or the bridge of the nose, when
    20· ·you're talking about batons.· You just say you don't
    21· ·strike a person in the head with a baton· cause that's
    22· ·deadly force.· So this is the equivalent of that.
    23· ·Q.· ·Okay.· So I just want to understand what your
    24· ·testimony is and, based on your Appendix E, Defensive
    25· ·Tactics Techniques, and there's a subsection, Deadly


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    ·1· ·Force Elbow Strike, isn't it true that not all elbow
    ·2· ·strikes are deadly force, correct?
    ·3· ·A.· ·It depends on where it's delivered and if it's in
    ·4· ·the head.· Look, I have been involved in law enforcement,
    ·5· ·with all due respect, since 1969· -· 68,· 69, almost 50
    ·6· ·years.· In that entire time, I have been trained, from
    ·7· ·the FBI to everywhere, that you· - when you use a closed-
    ·8· ·fist blow or any kind of an elbow strike to the head
    ·9· ·area, that is deadly force, because it is likely to cause
    10· ·serious bodily harm or death to the person who it's used
    11· ·against, typically subdural hematomas that· - the blood
    12· ·between the brain and the skull result from those kind of
    13· ·blows.
    14· · · · · · · · · So it's not only me looking at Florida,
    15· ·which I pointed out here.· I could go to 10 other states
    16· ·and pull their basic recruit training curriculum that
    17· ·says the same thing Florida says here and, over the
    18· ·entire 45 years or so in law enforcement, it has always
    19· ·been recognized and accepted that closed-fist blows,
    20· ·batons, or elbow strikes to the head is taught in use of
    21· ·force training programs as force likely to cause serious
    22· ·bodily harm or death.· That is deadly force, by
    23· ·definition.
    24· ·Q.· ·Well, I appreciate your experience, Mr. Tucker, of
    25· ·course.· However, in looking at what you're referring to


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    ·1· ·here as Appendix, I think it's, E, doesn't the training
    ·2· ·that you reference in your report specifically say that
    ·3· ·the elbow strikes that are considered deadly force are
    ·4· ·only those that utilize the tip of the elbow to only
    ·5· ·certain spots on the person's head that are stabilized?
    ·6· ·It's not just any elbow strike to the head is deadly
    ·7· ·force.· ·That's not what that says, right?
    ·8· ·A.· ·That's right.
    ·9· ·Q.· ·Okay.· So maybe it's semantics, but I just want to
    10· ·understand what the training you're referring to is,
    11· ·utilizing the tip of your elbow, the bony prominence of
    12· ·your elbow, to a specific target area, such as the temple
    13· ·or the jaw or the bridge of the nose or the throat, and
    14· ·that area is stabilized when the strike is delivered for
    15· ·it to be considered potentially under those· - under that
    16· ·training as deadly force.
    17· ·A.· ·Well, that· - it's self-explanatory, right there
    18· ·from the training program, yeah.
    19· ·Q.· ·So you're not disagreeing with me?
    20· ·A.· ·I'm not disagreeing with you.· It doesn't say top of
    21· ·the head, for example, although I don't know.
    22· ·Q.· ·Right.· Okay.· Now do you know specifically where,
    23· ·on Mr. Docher's body, Deputy Newman delivered his elbow
    24· ·strikes?
    25· ·A.· ·He just said to the side of the head.


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    ·1· ·Q.· ·Do you know where on the side of the head?
    ·2· ·A.· ·Well, no, I don't.· You know, I'm touching the side
    ·3· ·of my head.· That's· - the side of my head is the temple
    ·4· ·right there.· The side of my head there is the jaw area.
    ·5· ·So the side of      -
    ·6· ·Q.· ·But it's also a cheek          -
    ·7· ·A.· ·The side of --
    ·8· ·Q.· ·-- or a jaw, right?
    ·9· ·A.· ·I'm sorry.
    10· · · · · · ·COURT REPORTER:· I'm sorry.· You got cut off.
    11· ·A.· ·So if --
    12· ·Q.· ·I -- go ahead.
    13· ·A.· ·So if that be the case, that certainly meets the
    14· ·definition of deadly force here, which was to the temple
    15· ·and the side of the jaw, but that's the best I can do
    16· ·from what their testimony is.
    17· ·Q.· ·Well, do you· - the same question too.· Do you know
    18· ·what part of Deputy Newman's elbow made contact with Mr.
    19· ·Docher's head?
    20· ·A.· ·Well, he said it was an elbow strike.· Elbow strike
    21· ·is defined as using the tip of the elbow to strike
    22· ·someone.· So, again, I'm using his expression of what
    23· ·happened.· It's startling to me, frankly, when I read
    24· ·that, that this is a guy who says oh, that's not really
    25· ·deadly force.· Well, it is.· I'm sorry.· It is.· It's


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    ·1· ·recognized.· You can ask 10,000 law enforcement officers
    ·2· ·the question, if the elbow· - what is an elbow strike?
    ·3· ·They'll say the tip of the elbow.· A blow to the head
    ·4· ·with the tip of the elbow, is that likely to cause
    ·5· ·serious bodily harm or death?· The answer's going to be
    ·6· ·yes.· So, you know, I'm sorry.· That's just what it is.
    ·7· ·Q.· ·Well, let me ask you this, Mr. Tucker.· Have you
    ·8· ·ever heard of training, in regard to elbow strikes,
    ·9· ·involving any other portion of the elbow beside the tip,
    10· ·such as the soft area just adjacent to the tip of the
    11· ·elbow?
    12· ·A.· ·No.· You're talking about like -
    13· · · · · · ·MR. VITALE:· Objection to form.
    14· ·A.· ·-- a forearm       -
    15· · · · · · ·COURT REPORTER:· I'm sorry.· Was that an
    16· ·objection?
    17· · · · · · ·MR. VITALE:· Yes, ma'am.
    18· ·A.· ·The answer's no.
    19· ·Q.· ·Okay.· So when you hear elbow strike, you
    20· ·automatically think tip of elbow?· Is that right?
    21· ·A.· ·Yes, tip of the elbow.
    22· ·Q.· ·Were you aware, Mr. Tucker, that when Deputy Newman
    23· ·delivered the elbow strikes that he testified about, it
    24· ·was in reaction to Mr. Docher biting or attempting to
    25· ·bite him?


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    ·1· ·A.· ·That's correct.
    ·2· ·Q.· ·Does the fact that Mr. Docher was biting or
    ·3· ·attempting to bite either Deputy Newman or Deputy Mangrum
    ·4· ·change your opinion at all?
    ·5· ·A.· ·Absolutely not.· Attempting to bite somebody is not
    ·6· ·threatening with -- threatening deadly force.· It's a
    ·7· ·bite.· That does not justify the use of deadly force in
    ·8· ·response.· But it justifies --
    ·9· ·Q.· ·And, again, I under --
    10· ·A.· ·It justifies      -
    11· ·Q.· ·I'm sorry.
    12· ·A.· ·-- moving your hand away so he can't bite you, but
    13· ·it doesn't justify elbow strikes to the head or the use
    14· ·of deadly force.
    15· ·Q.· ·But, again, with the understanding that the -- in
    16· ·order -- in your opinion, in order for an elbow strike to
    17· ·the head to be considered deadly force, it has to be
    18· ·delivered to certain targeted areas on the head that are
    19· ·stabilized.· Is that correct?
    20· ·A.· ·That is correct, and the tip of the elbow.· If
    21· ·you're suggesting to me, however, that because Docher
    22· ·attempted to bite Newman or Mangrum, that that would
    23· ·justify deadly force, then, by gosh, they should've just
    24· ·jumped back and drew their weapons and shot and killed
    25· ·him.· That's for sure the way to deal with deadly force


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    ·1· ·if deadly force is justified.
    ·2· ·Q.· ·I just want to understand it, because, obviously,
    ·3· ·you're traveling under your definition of what a deadly
    ·4· ·force elbow strike is, and I just want to understand --
    ·5· ·A.· ·Yeah.
    ·6· ·Q.· ·-- what your opinion is and whether it changes at
    ·7· ·all if the person that's being restrained bites or
    ·8· ·attempts to bite the officer.
    ·9· ·A.· ·It doesn't change it --
    10· ·Q.· ·Go ahead     -
    11· ·A.· ·It doesn't change it --
    12· ·Q.· ·-- and clarify.
    13· ·A.· ·-- at all.
    14· ·Q.· ·Okay.
    15· ·A.· ·My testimony is my testimony.
    16· ·Q.· ·Thank you.· And I see, on the bottom of page 5 of
    17· ·your report, you say, on the last sentence, "In fact,
    18· ·Docher was not criminally charged with aggravated assault
    19· ·(necessary to justify the use of deadly force) and
    20· ·instead was charged with simple assault/battery."· Do you
    21· ·see that?
    22· ·A.· ·Yes, I do.· What I'm pointing out there simply is,
    23· ·if Docher had somehow had some kind of a weapon, which
    24· ·would be necessary to charge under aggravated assault,
    25· ·which could've caused serious bodily injury to the


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    ·1· ·officers, then deadly force would be justified, but that
    ·2· ·are -- that's not the facts of this case.
    ·3· ·Q.· ·Okay.· And I was just going to ask where did you get
    ·4· ·the information that he was charged with simple
    ·5· ·assault/battery?
    ·6· ·A.· ·I guess the incident report.· Hold on a minute and
    ·7· ·I'll look at it.· I think that's where I got it.· Yes.
    ·8· ·On the incident report, page 1, the crime was assault and
    ·9· ·battery with weapons -- hand, fist, feet.· That's simple
    10· ·assault and battery.
    11· ·Q.· ·So it was a battery on a law enforcement officer?
    12· ·A.· ·Yes.
    13· ·Q.· ·And I know you told us earlier you're not a lawyer.
    14· ·So you wouldn't know what degree of crime battery on a
    15· ·law enforcement officer would be in Florida, I assume?
    16· · · · · · ·MR. VITALE:· Objection to the form.
    17· ·A.· ·I did not look it up.· I'm just looking at the
    18· ·incident report and they're saying it was not an
    19· ·aggravated assault because there was no weapons involved
    20· ·and it was -- the crime was assault.
    21· ·Q.· ·Well, do you know that, in Florida, battery on a law
    22· ·enforcement officer is classified as a felony?
    23· · · · · · ·MR. VITALE:· Objection to the form.
    24· ·A.· ·Well, I think that's correct.· Yes.
    25· ·Q.· ·Now turning to page 6 of your report, Mr. Tucker,


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    ·1· ·and I see     -
    ·2· ·A.· ·All right.
    ·3· ·Q.· ·I see a couple of in-my-opinions there toward the
    ·4· ·top of the page.· The first one was, in my opinion, a
    ·5· ·reasonable officer, under similar circumstances, would
    ·6· ·not have perceived Docher as an immediate threat of
    ·7· ·serious bodily harm or death at any time after the
    ·8· ·officers handcuffed him.· And what facts are you basing
    ·9· ·that opinion on?
    10· ·A.· ·I'm basing that on my personal experience, that you
    11· ·have an unarmed person who's handcuffed with his hands
    12· ·behind his back.· No reasonable officer would consider an
    13· ·unarmed person who's handcuffed as an immediate threat of
    14· ·serious bodily harm or death to the officer under the set
    15· ·of circumstances there.
    16· ·Q.· ·And that was based too on your conclusion that the
    17· ·elbow strikes delivered by Deputy Newman were deadly
    18· ·force, is that right?
    19· ·A.· ·Correct.
    20· ·Q.· ·And is that also the case with your next sentence
    21· ·there that says, in my opinion, striking Docher in the
    22· ·head with an elbow strike two times when he was
    23· ·handcuffed and while there were at least three deputies
    24· ·to control Docher was a greater level of force than other
    25· ·officers would've used under the same or similar


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    ·1· ·circumstances?
    ·2· ·A.· ·Correct.· There are absolutely numerous          -
    ·3· ·innumerable -- I can't even give you the number of them
    ·4· ·-- of cases that -- on use of force where the
    ·5· ·consideration of the court as to whether the use of force
    ·6· ·was reasonable or not is based upon how many officers
    ·7· ·were present to control an individual and I can give you
    ·8· ·a couple of those if you want.· But, in any case, since
    ·9· ·there were at least three deputies here capable and
    10· ·available to deal with Docher, who was handcuffed, then
    11· ·their· - any kind of an elbow strike is not reasonable.
    12· ·Q.· ·Now I know you've told me you were relying on the
    13· ·deputies' testimony.· Were you aware that the deputies'
    14· ·testimony included the fact that, shortly after they all
    15· ·went to the ground with Mr. Docher, that although he was
    16· ·handcuffed, he apparently was able to slip one of his
    17· ·hands under his body and do a push-up with the deputies
    18· ·on or around him?
    19· ·A.· ·I'm very aware of that.
    20· ·Q.· ·Okay.
    21· ·A.· ·That's part of      -
    22· ·Q.· ·So    -
    23· ·A.· ·Oh, by the way, that's part of that physiology of a
    24· ·struggle.· When· - what the officer calls resisting is
    25· ·part of what we call the physiology of a struggle, when a


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    ·1· ·person is down in the prone position on their stomach and
    ·2· ·can't breath.· When they try to push themselves up so
    ·3· ·they can breath, the officer says that's resisting.· The
    ·4· ·person who's down there, most of the time they end up
    ·5· ·dying from the complications of the restraint and the
    ·6· ·compression, exacerbated by excited delirium.· In this
    ·7· ·case, he didn't die, but the same kind of situation.
    ·8· ·Q.· ·Now is that related to your opinion concerning
    ·9· ·positional asphyxia?
    10· ·A.· ·Yes, ma'am.
    11· · · · · · ·MR. VITALE:· Objection to the form.
    12· ·Q.· ·We'll talk about that in a minute also.
    13· ·A.· ·All right.
    14· ·Q.· ·Now I see, on page 6 of your report still, you
    15· ·reference, following those two opinions I just mentioned,
    16· ·a citizen witness by the name of Merine -- I think it's
    17· ·M-E-R-I-N-E -- Kanhai, K-A-N-H-A-I, making reference to
    18· ·hearing Mr. Docher say don't let them kill me.· Do you
    19· ·see where I'm referring to that?
    20· ·A.· ·Yes.
    21· ·Q.· ·Okay.· Do you know who Mr. Docher was referring to
    22· ·when he was saying don't let them kill me?
    23· ·A.· ·I don't know if anybody knows who he was referring
    24· ·to since he was delusional.· He was earlier talking about
    25· ·Arabs trying to get him, but he· - nobody knows who           -


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    ·1· ·what was going on, who he was talking about, but that is
    ·2· ·what the witness said that he was saying.
    ·3· ·Q.· ·At that point in the incident?
    ·4· ·A.· ·Correct.
    ·5· ·Q.· ·Okay.· Now then, right before you got your
    ·6· ·preliminary opinion number two, on page 6, you say,
    ·7· ·"Finally, it would've been obvious to any reasonable
    ·8· ·officer on May 11th, 2014, when considering the totality
    ·9· ·of the circumstances presented to Deputies Newman,
    10· ·Mangrum, and Robinson, that Docher was having a medical
    11· ·emergency and needed immediate medical attention.
    12· ·Instead, Newman, Mangrum, and Robinson used excessive
    13· ·force on unarmed and handcuffed man, in violation of
    14· ·training and standards, and my question is what facts do
    15· ·you base that on, that it would've been obvious to any
    16· ·reasonable officer at that time that Mr. Docher was
    17· ·having a medical emergency?
    18· ·A.· ·Well, let's take Newman first.· He said he'd
    19· ·received training at the St. Lucie County Sheriff's
    20· ·Department on excited delirium and he, in fact, was, at
    21· ·some point along the line, maybe after this incident, but
    22· ·certified to instruct on excited delirium, the signs and
    23· ·symptoms of excited delirium, and then he said, also,
    24· ·that excited delirium is a medical emergency.
    25· · · · · · · · · Well, let's just say that if they see a


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    ·1· ·person who's delusional, talking about they're trying to
    ·2· ·kill me, whether he's talking about the deputies or
    ·3· ·someone, he's sweaty, he's -- all the things that the
    ·4· ·deputies said they saw him do· - Newman says that he kept
    ·5· ·responding to Arabs, talking about Arabs, and he had to
    ·6· · - he saw the Arabs hide the bodies in St. Lucie County
    ·7· ·and he was seeing things.· If Newman was trained, or any
    ·8· ·officer, hearing those kind of things that he's
    ·9· ·describing would've seen this as the symptoms of excited
    10· ·delirium and, therefore, a medical emergency because he
    11· ·knew excited delirium symptoms was a medical emergency,
    12· ·if that makes sense, what I said.
    13· · · · · · · · · So I'm just saying that any reasonable
    14· ·officer, given the totality of the circumstances here,
    15· ·would've seen this as a person who was exhibiting
    16· ·symptoms of excited delirium and, therefore, he should've
    17· ·been treated as a medical emergency.
    18· ·Q.· ·In your opinion, Mr. Tucker, do you believe the
    19· ·symptoms of excited delirium are easy to discern for a
    20· ·non-medically trained professional, such as a law
    21· ·enforcement officer?
    22· ·A.· ·When you read the portion of my book on this
    23· ·chapter, I make it clear that we don't expect officers to
    24· ·be able to diagnose, with any kind of certainty, some
    25· ·kind of a disease or medical experts.· What we do though


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    ·1· ·is expect them to recognize the symptoms of excited
    ·2· ·delirium, just like we did back 20 years ago.· We used to
    ·3· ·have numerous examples of officers who would see
    ·4· ·somebody, thinking that they were intoxicated.· In fact,
    ·5· ·interestingly enough, the case, Graham v. Connor, is
    ·6· ·right on point.· It was a black male suffering from a di
    ·7· · - a sugar diabetes insulin problem that the officers
    ·8· ·took for him being drunk· - publicly drunk.· So we had to
    ·9· ·train officers 20 years ago to recognize the difference
    10· ·between a sugar diabetes issue or public drunkenness and
    11· ·say, if there's a question, treat it as a medical issue,
    12· ·not as a criminal issue.· The same thing is true here.
    13· · · · · · · · · Excited delirium is· - it's not like it's
    14· ·new.· It's been around for quite some time and there's
    15· ·been a lot of training on it· - on recognizing those
    16· ·symptoms and treating it as a medical emergency.
    17· ·Q.· ·Well, Mr. Tucker, you would agree with me though
    18· ·that every situation is different, right, in terms of
    19· ·facts being confronted by the law enforcement officer on
    20· ·the scene?
    21· ·A.· ·As I said, --
    22· ·Q.· ·So they're not all like the Graham v. Connor
    23· ·scenario is what I mean.
    24· · · · · · ·COURT REPORTER:· I'm sorry.· Can you repeat
    25· ·that last comment?· It cut out.


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    ·1· · · · · · ·MS. BARRANCO:· Sure.· They're not all the
    ·2· ·situation in Graham v. Connor, correct?
    ·3· ·A.· ·I mentioned earlier in the deposition that anything
    ·4· ·that says all or always or it's a possibility, I'm going
    ·5· ·to always answer it the same way.· Anything's possible.
    ·6· ·Yes, it's true that all circum· - situations are not
    ·7· ·exactly alike.
    ·8· ·Q.· ·Okay.· But      -
    ·9· ·A.· ·But I'm dealing with this situation.
    10· ·Q.· ·Sure.· Well -- and you were talking about excited
    11· ·delirium and training on the signs and symptoms and if we
    12· ·could just look now at one of your appendix to your
    13· ·report, Appendix F, that you refer to with excited
    14· ·delirium mentioned.· Tell me when you're there.
    15· ·A.· ·I've got it.
    16· ·Q.· ·All right.· It mentions some symptoms on the second
    17· ·page there.· It says the unusual symptoms or behavior are
    18· ·usually attributed to a condition known as excited
    19· ·delirium.· Excited delirium is a sense of extreme mental
    20· ·and physiological excitement characterized by exceptional
    21· ·agitation and hyperactivity, overheating, excessive
    22· ·tearing of the eyes, hostility, superhuman strength,
    23· ·aggression, acute paranoia, and endurance without
    24· ·apparent fatigue, and there's a citation to Lewinski,
    25· ·2006.· Do you see where I'm reading from?


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    ·1· ·A.· ·Do I what?
    ·2· ·Q.· ·Do you see where I'm reading from?
    ·3· ·A.· ·Oh, I know exactly where you're reading from and
    ·4· ·Bill Lewinski is from the Force Science Center and this
    ·5· ·is 2006.· Very, very more symptoms identified, but let's
    ·6· ·just take agitated.· If Brown would've been talked to,
    ·7· ·the CVS employee, he said in his deposition, page 9, line
    ·8· ·8, Docher appeared agitated.· He was not making sense.
    ·9· ·He was not acting normal.· That's just Brown alone and
    10· ·Bhagudas, if they would've been talking to· - talked to.
    11· · · · · · · · · In any case, the officers themselves saw
    12· ·him· - he being Docher· - acting the way that they should
    13· ·have, as the final thing said there, when confronting a
    14· ·subject with unusual symptoms, an officer should
    15· ·immediately seek medical attention.· That's the whole
    16· ·point.
    17· ·Q.· ·Although, even if they seek medical attention, the
    18· ·police are still the ones that are charged with
    19· ·controlling the subject, correct?
    20· ·A.· ·Well, yes, but I don't know what you mean by that.
    21· ·They need to control, if they can, yes, but they
    22· ·should've sought medical attention immediately.
    23· ·Q.· ·So do I understand, then, your opinion, Mr. Tucker,
    24· ·is that the deputies in this case, before they ever laid
    25· ·hands on Mr. Docher, should've first summoned EMS?


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    ·1· ·A.· ·Correct.· They should've talked with the persons in
    ·2· ·CVS and said tell me what's been going on here.· Well,
    ·3· ·this guy's acting very agitated.· He's not making any
    ·4· ·sense.· He asked us to call· - he said to call 911 for
    ·5· ·him, which we did.· He's just not acting normal.· He's
    ·6· ·sweaty.· These are all things that the CVS employee said,
    ·7· ·at which point the· - our deputy says wow, those are the
    ·8· ·symptoms of ED.· So what's the protocol now?· Well, the
    ·9· ·protocol is let's get EMS to the scene before we even
    10· ·interact with him, if possible.· And so, call for EMS to
    11· ·come to the scene.· Now EMS comes to the scene.· You say
    12· ·to the EMS we're going to overpower him as quickly as we
    13· ·can, get him down, get him cuffed.· It's then your
    14· ·responsibility, as to protocol -- spell it out -- to
    15· ·administer a sedative.· Now I'm not going to tell you
    16· ·what the sedative is --· cause I'm not a medical expert,
    17· ·I'm not an EMS expert· - and the dosage and all that and
    18· ·then transport immediately to the hospital for medical
    19· ·care.· That's the typical protocol spelled out.· It's
    20· ·been understood for several years now.· That's not what
    21· ·happened.
    22· ·Q.· ·Okay.· Well· - but, even in your scenario, aren't
    23· ·you saying that, even if medical is on standby, the
    24· ·deputies are still charged with having to control the
    25· ·individual, correct?


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    ·1· ·A.· ·Correct.· You don't expect              -
    ·2· ·Q.· ·The     -
    ·3· ·A.· ·EMTs to do that.
    ·4· ·Q.· ·Well, EMS isn't even going to touch the guy until
    ·5· ·he's under control, isn't that right?
    ·6· ·A.· ·Correct.
    ·7· ·Q.· ·And I think I heard you use the words if possible,
    ·8· ·is that right?
    ·9· ·A.· ·I don't know.
    10· · · · · · ·MR. VITALE:· Objection.
    11· ·Q.· ·Did you use the term if possible or the words if
    12· ·possible?
    13· ·A.· ·I don't know.· You'd have to read it back, what I
    14· ·said.
    15· ·Q.· ·Well, you were talking about the protocol and, you
    16· ·know, if possible, call medical first and that sort of
    17· ·scenario.
    18· ·A.· ·Okay.· That       -
    19· ·Q.· ·And isn't your protocol kind of a best-case
    20· ·scenario?
    21· ·A.· ·What I'm saying is, very simply, that if Docher is
    22· ·standing in the parking lot, as opposed to stabbing
    23· ·someone with a screwdriver, then, if he's just standing
    24· ·there doing nothing, then it is possible and reasonable
    25· ·for the officers to call EMS and get them to the scene


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    ·1· ·once they've recognized and talked to the CVS employees
    ·2· ·and found that this· - all these symptoms were there, as
    ·3· ·opposed to a chaotic scene.
    ·4· · · · · · · · · For example, again, there's numerous case
    ·5· ·law, under the Americans With Disabilities Act, and it
    ·6· ·says, very clearly, that officers are not required to
    ·7· ·impose protocols for mental health treatment of someone
    ·8· ·until the scene· - unless the scene is under control or
    ·9· ·brought under control.· So if there's somebody committing
    10· ·a crime or stabbing, you don't have to run up there and
    11· ·start invoking ED protocol, but ED protocol was
    12· ·reasonable here because he was just standing in the
    13· ·parking lot when they got there.
    14· ·Q.· ·Of course, you have no idea how long it would've
    15· ·taken a deputy to go inside and actually get to figure
    16· ·out who may have information about how he was behaving
    17· ·inside, --
    18· ·A.· ·I    -
    19· ·Q.· ·-- correct?
    20· ·A.· ·I don't have an idea how long it· - how many minutes
    21· ·or a minute or any of that.· There's not a time line.
    22· ·Q.· ·Well, do you recall, from the deputy's testimony,
    23· ·that when Mr. Docher was first outside of the CVS with
    24· ·them, he was calm?
    25· ·A.· ·Smoking a cigar.· That's correct.


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    ·1· ·Q.· ·Now you mentioned the word agitated as one of the
    ·2· ·possible symptoms of excited delirium.· Can't agitation
    ·3· ·be a symptom of other things besides excited delirium?
    ·4· ·A.· ·Agitation can be a symptom of a lot of things.           I
    ·5· ·was very agitated when I backed my boat into the lobster
    ·6· ·warp and got it all wrapped around my prop.· It had
    ·7· ·nothing to do with excited delirium.· It cost me a $100
    ·8· ·to get the diver to go down and cut it off.· I was
    ·9· ·agitated.
    10· ·Q.· ·Sure.· And I get that.· What about overheating?
    11· ·That was another word contained in your appendix about a
    12· ·symptom of excited delirium.· I mean, couldn't
    13· ·overheating be somebody that's just sweating· cause it's
    14· ·a hot day or they just were jogging around the block?
    15· ·A.· ·That's a possibility.
    16· ·Q.· ·I mean, would you agree with me, Mr. Tucker, that a
    17· ·lot of the symptoms that are attributed to excited
    18· ·delirium can also be attributed to other things unrelated
    19· ·to excited delirium?
    20· ·A.· ·Yeah.· It could just be attributable to a mental
    21· ·health issue and not excited delirium.
    22· ·Q.· ·Or a combination thereof?
    23· ·A.· ·A combination thereof.
    24· ·Q.· ·Now do you know if these deputies had any knowledge
    25· ·about Mr. Docher's medical history when they encountered


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    ·1· ·him?
    ·2· ·A.· ·Medical history?· No.
    ·3· ·Q.· ·Other than maybe what Mr. Docher decided to share
    ·4· ·with them.
    ·5· · · · · · ·MR. VITALE:· Objection to the form.
    ·6· ·A.· ·I don't remember anything about anybody asking him
    ·7· ·about medical issues he might be having.· They asked if
    ·8· ·he'd had anything to drink and he said yes.· I think an
    ·9· ·Ice something or other he said.· Some kind of a beer.
    10· ·But I don't remember anything about medical issues being
    11· ·asked.
    12· ·Q.· ·Do you remember anything about drug use being
    13· ·brought up in the conversation between the deputies and
    14· ·Mr. Docher?
    15· ·A.· ·Yeah.· I think that was when he responded that he
    16· ·had drank some ice· - I forget the name of the beer.
    17· ·Some kind of a beer.
    18· ·Q.· ·Natural Ice?
    19· ·A.· ·I think that's right.
    20· ·Q.· ·Okay.· But you don't remember anything about drugs
    21· ·specifically being discussed?
    22· ·A.· ·No, I don't.
    23· ·Q.· ·Now, just so I understand, so based on your opinion
    24· ·a moment ago, saying that you thought the deputies should
    25· ·have immediately seen Mr. Docher's situation as being a


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    ·1· ·medical emergency and summed the medical people to come
    ·2· ·to the scene, does the fact that Mr. Docher was initially
    ·3· ·compliant, in terms of being handcuffed and placed in the
    ·4· ·back of the patrol car, at least his posterior region in
    ·5· ·the back seat of the patrol car· - does the fact that he
    ·6· ·was initially compliant, does that change your opinion at
    ·7· ·all or do you believe the deputies still, regardless of
    ·8· ·Mr. Docher's initial compliance, they still should've
    ·9· ·first summoned EMS?
    10· · · · · · ·MR. VITALE:· Objection to the form.
    11· · · · · · ·MS. TYK:· Summer?
    12· · · · · · ·MS. BARRANCO:· Yes?
    13· · · · · · ·MS. TYK:· This is Julie.· Just, when you have a
    14· ·natural breaking point, if we could just take a comfort
    15· ·break for a couple minutes?
    16· · · · · · ·MS. BARRANCO:· Sure.· Well, now is fine.           I
    17· ·need to get some water anyway.
    18· · · · · · ·MS. TYK:· Are you sure?· Do you want him to
    19· ·answer that question first.
    20· · · · · · ·MS. BARRANCO:· Yeah.· Let him answer the
    21· ·question first, --
    22· · · · · · ·MS. TYK:· Okay.
    23· · · · · · ·MS. BARRANCO:· -- please.
    24· ·A.· ·Somewhere in the documents· - that's what I was
    25· ·looking for· - on excited delirium, they talk about the


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    ·1· ·fact that, very often, the person who is suffering from
    ·2· ·excited delirium will be extremely calm at first and then
    ·3· ·become violent immediately thereafter and I can find that
    ·4· ·in the cited delirium concepts and issues paper, if
    ·5· ·necessary, but· - so the answer to the question, I guess,
    ·6· ·is that the fact that he was calm doesn't mean that he
    ·7· ·wasn't suffering excited delirium syndrome.
    ·8· ·Q.· ·Okay.· Just to clarify, what document were you just
    ·9· ·referring to, talking about being calm first?
    10· ·A.· ·Either the January or the April 2014 Concepts and
    11· ·Issues paper of the National Law Enforcement Policy
    12· ·Center on excited delirium.
    13· ·Q.· ·And that's your Appendix G, is that right, to your
    14· ·report?
    15· ·A.· ·It's Appendix G and, also, the copy that I made of
    16· ·my reference in my report at the bottom· - at the end of
    17· ·the report, footnote three.
    18· · · · · · ·MS. BARRANCO:· Okay.· So if you want to take a
    19· ·little break now.
    20· · · · · · ·THE WITNESS:· That's fine.
    21· ·(Off the record at 11:56 a.m.)
    22· ·(On the record at 12:05 p.m.)
    23· · · · BY MS. BARRANCO:
    24· ·Q.· ·Mr. Tucker, I'm looking at page 6 of your report,
    25· ·your preliminary opinion number two, and it says Deputies


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    ·1· ·Newman, Mangrum, and Robinson knowingly violated clearly
    ·2· ·established law enforcement training on how to handle a
    ·3· ·person exhibiting the symptoms of "excited delirium" when
    ·4· ·they failed to treat the incident with Tavares Docher as
    ·5· ·a medical emergency and instead treated the incident as
    ·6· ·control-and-arrest situation.· My first question about
    ·7· ·that is how do you know that the deputies knowingly
    ·8· ·violated the training?
    ·9· ·A.· ·Well, because training is· - they either were
    10· ·ignorant of the training or knowingly violated the
    11· ·training and, according to Newman, he was very familiar
    12· ·with the· - in his deposition testimony, with the
    13· ·symptoms of excited delirium and even qualified to teach
    14· ·it, so that would meaningly from his standpoint for sure,
    15· ·but I think that's clear enough.
    16· ·Q.· ·How about Deputy Robinson?
    17· ·A.· ·Robinson was new on the job, only a couple weeks,
    18· ·but had been the one who was most recently through the
    19· ·basic recruit training program and I don't recall           -
    20· ·let's see.· I'll have to look and see what he said about
    21· · - he received training that ED is a medical emergency.
    22· ·He said that in his deposition, page 29, line 17.· So
    23· ·knowingly violated with him and Mangrum, I don't recall
    24· ·what he had to say about it, but it speaks for itself.
    25· ·If I could go --


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    ·1· ·Q.· ·Well, --
    ·2· ·A.· ·Go ahead.
    ·3· ·Q.· ·I was just going to ask, because you're lumping all
    ·4· ·three of the deputies together, saying that they
    ·5· ·knowingly did something, and I really would like to break
    ·6· ·it down a little bit in terms of your opinion, saying
    ·7· ·that· - I guess that they knowingly violated their
    ·8· ·training and treating it as something other than a
    ·9· ·medical emergency based on the symptoms that apparently,
    10· ·according to you, that Mr. Docher was exhibiting of
    11· ·exited delirium.· So I wanted to ask you what symptoms,
    12· ·in regard to Deputy Robinson anyway, what symptoms of
    13· ·excited delirium did you believe Deputy Robinson would've
    14· ·known about that he apparently, according to you anyway,
    15· ·knowingly didn't attribute that to being excited
    16· ·delirium, as opposed to something else, I guess.
    17· · · · · · · · · MR. VITALE:· Objection to the form.
    18· · · · · · · · · MS. BARRANCO:· Did you understand the
    19· ·question?
    20· ·A.· ·Yes.· And I'm reading right now where it says St.
    21· ·Lucie County provided me with training on the signs and
    22· ·symptoms of excited delirium prior to 5/11/14.· Robinson
    23· ·said that himself on page 18 of his deposition, line 17.
    24· ·So that's where I would get that.· If he was provided
    25· ·with that training, then he knowingly violated or just


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    ·1· ·ignored it.
    ·2· ·Q.· ·Well, let me ask you though more specifically,
    ·3· ·because I know there are multiple symptoms apparently of
    ·4· ·excited delirium, and my question for you, Mr. Ticker, is
    ·5· ·what symptoms would Deputy Robinson should have known
    ·6· ·that Mr. Docher had that he should've attributed to being
    ·7· ·excited delirium?
    ·8· ·A.· ·Well, I don't recall what he said that he noticed.
    ·9· ·I do know that, for example, Mangrum said it never ever
    10· ·even entered my mind to think about excited delirium.
    11· ·But, for example, what I was getting ready to go to
    12· ·earlier, if you look at my report, page 7, on the third
    13· ·paragraph down, that is what I'm talking about there,
    14· · cause you raised the issue about well, he was very calm
    15· ·when he was handcuffed, do you see where I say there that
    16· ·the International Association of Chiefs of Police have            -
    17· ·Q.· ·Yes.
    18· ·A.· ·-- identified the symptoms of agitation,
    19· ·hyperthermia, profuse sweating, paranoid behavior?
    20· ·Clearly, Robinson was there when he was talking about
    21· ·Arabs and looking for heads and all that.· That's
    22· ·paranoid, crazy kind of behavior.· Constant physical
    23· ·activity, exceptional strength, and unusual calmness
    24· ·after restraint.· It is specifically pointed out that
    25· ·that by itself is another symptom of excited delirium and


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    ·1· ·they all noticed that Docher was· - submitted with no
    ·2· ·problem to being handcuffed and didn't attempt to flee or
    ·3· ·anything until after that.
    ·4· ·Q.· ·Well, it wasn't until after· - and according to what
    ·5· ·you were telling me a moment ago, the· - you believe the
    ·6· ·deputies, before they even restrained Mr. Docher,
    ·7· ·should've been calling EMS, right?
    ·8· ·A.· ·Certainly.
    ·9· ·Q.· ·So, to the extent that you're hanging your hat on
    10· ·this unusual calmness after restraint, they wouldn't of
    11· ·known whether he was going to be calm after he was
    12· ·restrained before he was restrained obviously, right?
    13· · · · · · · · · MR. VITALE:· Objection to the form.
    14· ·A.· ·You're right.
    15· ·Q.· ·And I think you've already told me that this
    16· ·particular· - I mean, we've got now· - we're looking at
    17· ·page 7 of your report.· So now we're referring to a
    18· ·different source of the symptomology of the excited
    19· ·delirium, but I think you've already agreed with me that
    20· ·these kinds of symptoms, such as agitation or
    21· ·hyperthermia, profuse sweating, paranoid behavior,
    22· ·constant physical activity, exceptional strength could be
    23· ·attributed to something other than excited delirium,
    24· ·correct, --
    25· ·A.· ·They     -


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    ·1· ·Q.· ·-- like drug use or alcohol problems or mental
    ·2· ·health problems or anger or activity, like jogging?
    ·3· ·A.· ·Could     -
    ·4· · · · · · · · · MR. VITALE:· Objection to the form.
    ·5· ·A.· ·Could anything be possible?· Yes.· Has· - had the
    ·6· ·symptoms· - more symptoms been identified as time went
    ·7· ·by, yes.· You cited the Force Science Center that I
    ·8· ·talked about.· In 2006, there were certain symptoms
    ·9· ·identified there.· Since then, more and more of these
    10· ·symptoms have been identified as excited delirium has
    11· ·been more identified in terms of deaths and, in this
    12· ·case, a vegetative state for people who have had excited
    13· ·delirium and been involved in a struggle with the police.
    14· · · · · · · · · Another one that hasn't been mentioned but
    15· ·is now out there all over the place is some kind of a
    16· ·fixation with glass.· For some reason, these people who
    17· ·are· - they'll break glass and just get fixated on glass.
    18· ·So there's· - the point is that there were a sufficient
    19· ·number of symptoms that the deputies could have, should
    20· ·have observed themselves to have classified this as
    21· ·excited delirium, called and invoked the protocol for ED,
    22· ·which is call for medical assistance first, before they
    23· ·attempt to control.· Work it out with medical to take
    24· ·control, administer a sedative, and then transport to a
    25· ·hospital.· They didn't.


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    ·1· ·Q.· ·Well, you mentioned something about fixation on
    ·2· ·glass as being one of the symptoms most re· - more
    ·3· ·recently discovered as perhaps being attributable to ED?
    ·4· ·A.· ·Right.
    ·5· ·Q.· ·Do you know if Mr. Docher was exhibiting any signs
    ·6· ·of a fixation on glass?
    ·7· ·A.· ·I don't recall that he was.
    ·8· ·Q.· ·Okay.· And is one of the possible symptoms of ED
    ·9· ·also that the person gets very heated and sometimes even
    10· ·strips naked --
    11· ·A.· ·Right.
    12· ·Q.· ·-- according to that?
    13· ·A.· ·Yes.
    14· ·Q.· ·Mr. Docher was never taking his clothes off or
    15· ·striping naked, right?
    16· ·A.· ·Right.· You're right.
    17· ·Q.· ·And that's the scenario in some circumstances,
    18· ·right?
    19· ·A.· ·Yes.· Of course.
    20· ·Q.· ·But I know, based on your earlier testimony, not all
    21· ·the circumstances· - but not all circumstances involve
    22· ·all of those symptoms?
    23· ·A.· ·If I could liken this to the issue of probable
    24· ·cause.· When you are looking at whether there's
    25· ·sufficient evidence to believe a crime is being


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    ·1· ·committed, you look at incriminating information, you
    ·2· ·look at exculpatory information.· If the incriminating
    ·3· ·information outweighs the exculpatory information, then
    ·4· ·you make a decision that you have probable cause to make
    ·5· ·an arrest.· This is no different.· If you have a person
    ·6· ·who's sweaty, who's delusional, who's talking about Arabs
    ·7· ·and heads and people hunting him and all of those
    ·8· ·symptoms that he had identified· - that were identified
    ·9· ·by the people in the store right off the bat, you have a
    10· ·whole bunch of incriminating· - yeah, he didn't break any
    11· ·glass, so I guess that would be exculpatory, but the
    12· ·weight of this is clearly over to the side, symptoms of
    13· ·ED.· If you have symptoms of ED, treat it as a medical
    14· ·emergency, not an arrest situation.· It's that simple.
    15· ·Q.· ·And your opinion is that the deputies -- one of them
    16· ·should've gone in the store to interview the civilians
    17· ·inside, right?
    18· ·A.· ·Correct.
    19· · · · · · ·MR. VITALE:· Objection to the form.
    20· ·Q.· ·And they didn't do that.· So you would agree with me
    21· ·then they didn't know what the civilians knew inside the
    22· ·store, at least in terms of how Mr. Docher was acting
    23· ·earlier, right?
    24· ·A.· ·Correct.
    25· ·Q.· ·And getting back to your preliminary opinion number


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    ·1· ·two, Mr. Tucker, --
    ·2· ·A.· ·Yes.
    ·3· ·Q.· ·-- you mentioned something about the deputies
    ·4· ·knowingly violating their training, but I assume you
    ·5· ·understand though that in a federal civil rights case,
    ·6· ·such as this, the standard that you're talking about,
    ·7· ·Graham versus Connor, isn't a subjective standard, right?
    ·8· ·A.· ·Isn't     -
    ·9· · · · · · ·MR. VITALE:· Objection to the form.
    10· ·Q.· ·It's objective, correct?
    11· ·A.· ·The Graham v. Connor is a so-called objective
    12· ·standard.· And what is· - what does that mean?· Well, it
    13· ·means that· - let's just take, for example, if any
    14· ·officer says well, he attacked me with a toothpick raised
    15· ·in his right hand and I was fearful of death, so I shot
    16· ·him.· Well, now we're going to do an analysis and that is
    17· ·that officer's subjective threat assessment, the
    18· ·toothpick in a raised hand.· Now how do we make it
    19· ·objective?· The objective analysis is when you ask the
    20· ·question would other officers have perceived the threat
    21· ·the same way and responded in a like manner.· If you do
    22· ·that in this case, you're saying that the objective
    23· ·standard is that there were symptoms of excited delirium
    24· ·present and other reasonable officers, not Mangrum,
    25· ·Newman, and Robinson,· cause they did not do it· - they


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    ·1· ·made their subjective determination that this was an
    ·2· ·arrest-and-control situation, but other reasonable
    ·3· ·officers would've perceived this and recognized this as
    ·4· ·an ED situation and a medical emergency.· That's what I'm
    ·5· ·saying.· That's the objective analysis.
    ·6· ·Q.· ·Okay.· So the part about the knowingly violating
    ·7· ·their training, that's not what you're referring to?
    ·8· ·A.· ·I am referring· - did I say something that takes
    ·9· ·that off the table?· I told you earlier that these
    10· ·officers had received training on excited delirium.
    11· ·Robinson said he even got it from the St. Lucie County
    12· ·Sheriff's Department now and on symptoms and everything,
    13· ·so he had been most recently through it.· He either
    14· ·forgot or ignored it or· - we don't know, but clearly he
    15· ·was provided with it, so he violated that training.
    16· ·Q.· ·Okay.
    17· ·A.· ·Didn't follow it.
    18· ·Q.· ·Let me just ask about your Appendix G, which is the
    19· ·IACP National Law Enforcement Policy Center, Excited
    20· ·Delirium.· It says model policy, January 2014?
    21· ·A.· ·Yes.
    22· ·Q.· ·Am I correct that that is a model policy, sort of a
    23· ·best-case-scenario policy, but not necessarily a policy
    24· ·that would have· - that these particular deputies
    25· ·involved with Mr. Docher would've been bound by?


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    ·1· ·A.· ·No, you're not      -
    ·2· · · · · · ·MR. VITALE:· Objection to the form.
    ·3· ·A.· ·No, you are not correct.· The National Law
    ·4· ·Enforcement Policy Center is a joint enterprise between
    ·5· ·the U.S. Department of Justice and the International
    ·6· ·Association of Chiefs of Police.· What they do is they
    ·7· ·identify problems that the police have out there, one of
    ·8· ·which would be excited delirium, and then what do they
    ·9· ·do?· Well, they say okay, we're having a lot of deaths in
    10· ·arrest situations turning out to be excited delirium.
    11· ·They get together subject matter experts, medical people,
    12· ·medical examiners, for example.· They get defensive
    13· ·tactics instructors from law enforcement and lawyers.
    14· ·They get these specialized· - these experts together and
    15· ·they say what are the concepts and issues involved here?
    16· ·Well, one of the concepts involved is excited delirium
    17· ·and the symp· - recognizing the symptoms of excited
    18· ·delirium.· After that, the subject matter experts work on
    19· ·it.· They put it into a model policy to guide law
    20· ·enforcement agencies on what to do when you are
    21· ·confronted with excited delirium.
    22· · · · · · · · · In this case, they say rapid control of
    23· ·the subject and transfer to the care of emergency medial
    24· ·provider should be the primary objective, unless other
    25· ·actions are necessary to protect the officers.· They            -


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    ·1· ·persons exhibiting symptomatic behavior should be
    ·2· ·suspected of being the subject of a medical emergency
    ·3· ·that could result in sudden death.· That's the policy.
    ·4· · · · · · · · · Now does that mean that St. Lucie County
    ·5· ·is required to follow this?· No.· This is a protocol that
    ·6· ·is recognized in the law enforcement profession for how
    ·7· ·to deal· - best practice for dealing with people
    ·8· ·exhibiting the signs of excited delirium.· ·There's no
    ·9· ·legal requirement that St. Lucie County follow it, but it
    10· ·is the protocol recognized in the law enforcement
    11· ·profession and was in 2014 when this happened.
    12· ·Q.· ·Okay.· And I also noticed, at the end of that
    13· ·protocol, there's a footnote that includes the following
    14· ·language:· each law enforcement agency operates in a
    15· ·unique environment of federal court rulings, state laws,
    16· ·local ordinances, regulations, judicial and
    17· ·administrative decisions, and collective bargaining
    18· ·agreements that must be considered.· In addition, the
    19· ·formulation of specific agency policies must take into
    20· ·account local political and community perspectives and
    21· ·customs, prerogatives and demands, often divergent law
    22· ·enforcement strategies and philosophies, and the impact
    23· ·of varied agency resource capabilities, among other
    24· ·factors.· So is that what you were just telling me about?
    25· ·A.· ·What you just said was that if there was a


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    ·1· ·collective bargaining agreement that would prohibit the
    ·2· ·St. Lucie County Sheriff's Department from classifying
    ·3· ·the symptoms of excited delirium as a medical emergency
    ·4· ·or a law in Florida that prohibited that, this wouldn't
    ·5· ·apply, but that's not the case.· There's not a law in
    ·6· ·Florida that says you can't classify excited delirium as
    ·7· ·a medical emergency.· There's not a collective bargaining
    ·8· ·agreement that I've ever heard of.· So that's not
    ·9· ·applicable.· What I'm saying is simply that this is not a
    10· ·law.· It is a recognized best practice in the law
    11· ·enforcement profession that has been put out there prior
    12· ·to this incident and now, going on several years, as the
    13· ·proper the action to follow when you have an excited
    14· ·delirium situation.
    15· ·Q.· ·Okay.· Thank you for that clarification, Mr. Tucker.
    16· ·Now if we could move to your preliminary opinion number
    17· ·three that's on page 8 of your report.
    18· ·A.· ·Okay.
    19· ·Q.· ·And, just for the record, it says Deputies Newman,
    20· ·Mangrum, and Robinson knowingly violated clearly
    21· ·established law enforcement training on avoiding the
    22· ·basic physiology of a struggle because of the risk to a
    23· ·subject of death or serious medical ramifications.· Did I
    24· ·read that correctly?
    25· ·A.· ·Yes.


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    ·1· ·Q.· ·Can you explain to me· - and I guess it's in your
    ·2· ·report here, but what are you referring to when you say
    ·3· ·the basic physiology of a struggle?
    ·4· ·A.· ·Well, it's right there, spelled out, in Appendix H
    ·5· ·and I've been training officers on this for at least 20
    ·6· ·years.· Very simply, officers are taught, in use of force
    ·7· ·training programs that I have been through and certainly
    ·8· ·are taught by me when I teach use of force, that officers
    ·9· ·need to be aware of what is called the basic physiology
    10· ·of a struggle and that basic physiology of a struggle is,
    11· ·very simply, that when you restrain a person in a face-
    12· ·down position, their breathing can become labored.           I
    13· ·know that because when I play around with my
    14· ·grandchildren and I'm laying down on the floor on my
    15· ·stomach and they're on my back, it's difficult to breath.
    16· ·I recognize that right off.· And then, if you apply
    17· ·weight to the person's back, the more weight you apply,
    18· ·the more severe the compression, the more difficulty
    19· ·there is in breathing.· I know that.· As the
    20· ·grandchildren have gotten older and weigh more, it's more
    21· · - it causes more difficulty for me to breath when
    22· ·they're on my back and the natural reaction to that lack
    23· ·of being able to breath is to try to get up to· - so you
    24· ·can breath and law enforcement officers are taught you
    25· ·have to recognize that that's not resistance.· That's a


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    ·1· ·struggle on the part of the person to be able to breath.
    ·2· ·So don't be saying things like stop resisting, stop
    ·3· ·resisting and don't then apply more weight and more
    ·4· ·pressure, which exacerbates the situation, and that's
    ·5· ·what happens.· That's why they call it the physiology of
    ·6· ·a struggle.· Officers tend to, as the person's
    ·7· ·struggling, apply more weight and more restraint until
    ·8· ·the person dies and it's always -
    ·9· ·Q.· ·Is that all?
    10· ·A.· ·It's been spelled out for --
    11· ·Q.· ·I'm sorry.
    12· ·A.· ·-- 20· - when I say knowingly violated, I don't know
    13· ·that I've ever bumped into an officer, you know, that has
    14· ·not heard of this and been taught this over the last 20
    15· · - it's just as common as· - it's just training that
    16· ·almost everybody receives on the use of force.
    17· ·Q.· ·Well, is that the same thing as the theory about
    18· ·positional asphyxia?
    19· ·A.· ·Well, yes, it is.· That -- positional asphyxia is
    20· ·also the same thing, that you put in certain positions,
    21· ·recognized for the last 40 years or 30 years,
    22· ·particularly in transporting prisoners with their hands
    23· ·cuffed behind their back and lay them down prone in the
    24· ·back seat of police car and you get to the jail and
    25· ·they're already dead and that's been a topic of


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    ·1· ·instruction in use of force training programs for at
    ·2· ·least 30 years.
    ·3· ·Q.· ·Well, are you aware, Mr. Tucker, of any more recent
    ·4· ·studies in regards to putting pressure on people that are
    ·5· ·handcuffed and in the prone position, with the studies
    ·6· ·revealing that the whole concept of positional asphyxia
    ·7· ·is really not accurate?
    ·8· ·A.· ·I'm aware· - there's probably 50 studies that I've
    ·9· ·read over a period of time, going back to Dr. Rhey, who
    10· ·was the original one that· - R-H-E-Y· - that identified
    11· ·positional asphyxia and then his claim that he had
    12· ·retracted that later, etcetera, etcetera, etcetera.· But
    13· ·the bottom line is the profession· - the law enforcement
    14· ·profession.· This is the National Law Enforcement
    15· ·Technology Center, a part of the U.S. Department of
    16· ·Justice, that is warning against the possibility of
    17· ·sudden death from positional asphyxia and the basic
    18· ·physiology of a struggle since 1995.· They have not come
    19· ·out and said we retract all this.· It's okay to hold
    20· ·somebody down in a prone position and put weight on their
    21· ·back and hold them there for 15 minutes.· They have never
    22· ·retracted this.· So there are· - it's like the cigarette
    23· ·industry.· There were all kinds of research projects that
    24· ·said cigarette didn't cause cancer and there were
    25· ·research projects that said cigarettes do cause cancer.


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    ·1· ·The same thing here.· It's a matter of controversy, but
    ·2· ·the protocol is well established and clear to avoid these
    ·3· ·things· cause sudden death can occur.
    ·4· ·Q.· ·Well, what specific facts are you relying on, Mr.
    ·5· ·Tucker, in regard to how these three deputies, according
    ·6· ·to you, knowingly violated their training on avoiding the
    ·7· ·basic physiology of a struggle?· Like what was it that
    ·8· ·they did or didn't do that you're critical of in this
    ·9· ·regard?
    10· ·A.· ·Hold on just a minute.· Let me see if I can find it.
    11· ·And all four hit the ground, Newman's saying.· So there's
    12· ·Newman and Mangrum up at the upper part of his body· - I
    13· ·say Docher's body· - and Robinson on his feet.· That's
    14· ·where the struggle started.· Then let's see.· I'm trying
    15· ·to· - that these officers were taught that if a person is
    16· ·on their stomach handcuffed, they may have trouble
    17· ·breathing.· Robinson says that in his deposition.· He was
    18· ·taught that, page 35, at line 12 of his deposition.
    19· ·After everybody hit the ground, Newman was on the upper
    20· ·body, Mangrum was on the upper body, and Robinson was on
    21· ·the legs.· That's Robinson definition· - deposition, page
    22· ·53, at lines 1 through 7.· I'd have to go through and
    23· ·look other places, but the witness statements of the
    24· ·deputies on him· - on Docher all fit the definition of a
    25· ·the physiology of a struggle.


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    ·1· ·Q.· ·Now just so I understand though, in terms of what
    ·2· ·you took issue with in regards to what was done, was that
    ·3· ·related to weight being placed on Mr. Docher's back or
    ·4· ·something else?
    ·5· ·A.· ·My analysis is pretty clear in my report.· Docher
    ·6· ·runs.· He's already handcuffed.· All three deputies were
    ·7· ·on Docher's back when he was taken to the· - and he was
    ·8· ·taken to the ground.· He slid the handcuffs on his right
    ·9· ·arm up to his elbow and was trying to push himself up,
    10· ·lifting all three deputies.· That's an example, again, of
    11· ·excited delirium, super strength, and it's also a
    12· ·struggle to breath.· You get a lot of strength when
    13· ·you're trying to say live and Robinson applied what he
    14· ·called a leg ride -- that is, he's hold him down on           -
    15· ·his legs down to gain control· - and Alonge· - Deputy
    16· ·Alonge, A-L-O-N-G-E, arrived on the scene and he
    17· ·assisted.
    18· · · · · · · · · So for a period of, according to their own
    19· ·report -- their own narrative, page 6 of the· - their
    20· ·reporting officer narrative, there were four officers
    21· ·holding him down at one point and then you have the
    22· ·paramedic.· Jose Rosario says, when he arrived on the
    23· ·scene, he observed several deputies on top of a subject
    24· ·who was still struggling with them and then you got
    25· ·Paramedic Thomas Sinclair.· When he arrived, he observed


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    ·1· ·several deputies on top of a subject who was on the
    ·2· ·ground with a pool of blood around his head.
    ·3· · · · · · · · · So there you have independent witnesses,
    ·4· ·paramedics, testifying in their· - or making statements
    ·5· ·in their supplemental reports of holding Docher down with
    ·6· ·the deputies on top of him and a struggle ensuing.
    ·7· ·Q.· ·So are you taking issue with the fact that they were
    ·8· ·holding him down or that they were on top of him or both
    ·9· ·of those things?
    10· ·A.· ·Both of those things.· There were three --
    11· ·Q.· ·So you're saying --
    12· ·A.· ·-- deputies present.· This was a man handcuffed with
    13· ·his hands behind his back, not armed with anything.· If
    14· ·three deputies, one of which was 209 pounds, Mangrum, and
    15· ·a 14 or 15 year veteran at that point -- if three
    16· ·deputies· - Mangrum, Newman, and Robinson· - couldn't
    17· ·pick that guy up off the ground and stand there and hold
    18· ·him steady, you know, one on each side of his· - holding
    19· ·each arm, I· - it's incomprehensible to me that they
    20· ·couldn't control him like that.
    21· ·Q.· ·Well, that was my next questions.· So -- and for
    22· ·your opinion, Mr. -- in your opinion, Mr. Tucker, you
    23· ·believe that, rather than trying to keep him down on the
    24· ·ground, what the deputies should've done was lifted him
    25· ·up and stood him on his own two legs --


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    ·1· ·A.· ·Or --
    ·2· ·Q.· ·-- until EMS controlled him with a shot or
    ·3· ·something?
    ·4· ·A.· ·Put him in the recovery position, which is put him
    ·5· ·on his side and hold him, or sit him up, set up in a
    ·6· ·position so he could breath.· Not necessarily having to
    ·7· ·stand him up, but certainly the opposite is· - you don't
    ·8· ·do· - you don't hold him down in the pone position; that
    ·9· ·is, on his stomach with his hands cuffed behind his back
    10· ·and the compression weight of three deputies at one point
    11· ·and four at another point because that is the recipe for
    12· ·positional asphyxia, death or, in this case, a vegetative
    13· ·state.
    14· ·Q.· ·Well, what about a situation where the individual
    15· ·has indicated he doesn't want to stay in a seated
    16· ·position or standing still?· He might be bolting from
    17· ·you.· What do you· - what would you recommend in that
    18· ·situation?
    19· ·A.· ·Did you say bolt from you?
    20· ·Q.· ·Yes, like bolt out of the back of the patrol car.
    21· ·A.· ·Well, you know, what the person wants· - he says
    22· ·well, I don't want to say seated.· Okay.· The officers or
    23· ·deputies, there's three of them to control him.· So you
    24· ·say sit right there.· That's the way it is, buddy.· Sit
    25· ·there.· We want to make sure you can breath, but you


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    ·1· ·don't hold them down in the prone position on· - with
    ·2· ·hands cuffed behind the back and weight compression on
    ·3· ·him.· That's the bottom line.
    ·4· ·Q.· ·Well, referring to the weight and compression on Mr.
    ·5· ·Docher, do you know how much pressure was applied to Mr.
    ·6· ·Docher's body?
    ·7· ·A.· ·None of us know.· There's no pressure gauges or
    ·8· ·anything involved here, but we do know that there were
    ·9· ·three deputies on top of him based upon the paramedics'
    10· ·own statements to· - in· - that are put in the police
    11· ·case supplemental reports and I do know that Mangrum was
    12· ·asked how much he weighed and he said 209 pounds now, but
    13· ·I was 205 then.· Well, put 200 pounds on my back or
    14· ·anybody's back while you're· - they're on their stomach
    15· ·in a prone position and their hands are cuffed behind
    16· ·their back, not counting the other two, the legs of           -
    17· ·being held by Robinson and Newman up on the head· - at
    18· ·the head area.· We don't know for sure, but you're just
    19· ·taught not to do it because of the obvious reason, people
    20· ·die when you do that to them.
    21· ·Q.· ·Well, Mr. Tucker, don't sometimes people refer to
    22· ·things such as I saw the deputies on top of somebody and
    23· ·it's really more of a manner of speaking, not that all
    24· ·three deputies were literally laying with their full
    25· ·weight on top of Mr. Docher?


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     ·1· ·A.· ·You'll have to ask Rosario and Sinclair when you           -
     ·2· ·if you depose them as to how· - what· - how they describe
     ·3· ·it more.· I'm going on basically just what they said in
     ·4· ·the police report, that Rosario        -
     ·5· ·Q.· ·And    -
     ·6· ·A.· ·-- and Sinclair said.
     ·7· ·Q.· ·And assuming that, in fact, the deputies had all of
     ·8· ·their entire weights on top of Mr. Docher, do you have
     ·9· ·any idea how long of a period of time that would've been?
     10· ·A.· ·No.
     11· ·Q.· ·Doesn't that kind of matter in terms of determining
     12· ·whether or not it's going to substantially impact
     13· ·somebody's ability to breath?
     14· ·A.· ·I've had probably 25 cases like this with physiology
     15· ·of a struggle.· One of them that I did, up in
     16· ·Massachusetts, there was a reporter with a camera
     17· ·snapping pictures and they were time-sequenced and that
     18· ·guy lived for 15 minutes.· Others have died within a
     19· ·matter of a minute and a half or a minute.· It depends on
     20· ·things like the guy that took 15 minutes who just smoked
     21· ·some marijuana.· That's all.· Otherwise, he was a healthy
     22· ·individual, but it took 15 minutes for him to die.
     23· ·Others have died in a matter of a minute because they had
     24· ·ingested cocaine and were suffering from excited
     25· ·delirium, which was a complication.


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     ·1· · · · · · · · · So how long it takes to die or suffer
     ·2· ·permanent injuries is dependent upon a whole of
     ·3· ·conditions.· The point is officers have been trained for
     ·4· ·20 years, 25 years not to put a person in the prone
     ·5· ·position with their hands cuffed behind their back and
     ·6· ·compression on them because people will die if you do
     ·7· ·that or they run the risk of dying.
     ·8· ·Q.· ·And then, in regards to the information you have,
     ·9· ·Mr. Tucker, concerning that training, do you know if
     10· ·deputies have been trained in terms of how much weight is
     11· ·too much?
     12· ·A.· ·No, I don't.
     13· ·Q.· ·So, I mean, would you agree with me that, very
     14· ·often, deputies, in taking people into custody, have to
     15· ·use some pressure in terms of holding the person down
     16· ·long enough to handcuff them.
     17· ·A.· ·Sure.
     18· ·Q· · Correct?
     19· ·A.· ·Sure.
     20· ·Q.· ·Okay, sir.· All right.· Let me move on to your last
     21· ·preliminary opinion in your report, page number 9,
     22· ·preliminary opinion number four and, for the record, I'll
     23· ·read it.· Deputies Robinson and Mangrum failed in their
     24· ·responsibility to intervene to stop a fellow deputy from
     25· ·committing a clear violation of training and standards


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     ·1· ·when it says "the saw" -- I'm assuming you meant they saw
     ·2· ·Deputy Newman deliver two separate elbow strikes to the
     ·3· ·head of Tavares Docher when they knew or should've known
     ·4· ·that deadly force was not justified under the
     ·5· ·circumstances they were confronted with.· Did I read that
     ·6· ·correctly, Mr. Tucker?
     ·7· ·A.· ·Yes, you did.
     ·8· ·Q.· ·Okay.· First, just to clarify, I assume that this
     ·9· ·opinion is based, in part, on your earlier opinion that
     10· ·it is your opinion that the elbow strikes by Deputy
     11· ·Newman to Mr. Docher's head were, in fact, deadly force?
     12· ·A.· ·Correct.· That's correct.· And officers are
     13· ·taught --
     14· ·Q.· ·So    -
     15· ·A.· ·Offices are taught, in use of force training
     16· ·programs, that if they're present at the scene when a
     17· ·constitutional violation is occurring, they have a duty
     18· ·to intervene to stop that constitutional violation.· In
     19· ·this case, the use of excessive force, deadly force, when
     20· ·deadly force wasn't justified.
     21· · · · · · · · · Now Robinson is· - should've known and he
     22· ·observed· - Robinson says he observed Newman deliver the
     23· ·strike to Docher's head and he knew that blows to the
     24· ·head could result· - it'd be deadly force, and that's on
     25· ·page 28 of his deposition, line 7.· Now I have· - and I


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     ·1· ·was including Mangrum because, at that point, when I
     ·2· ·wrote the report, I didn't know that Mangrum himself had
     ·3· ·delivered an elbow strike to the head of Docher.· So
     ·4· ·Mangrum either failed to stop Newman or he participated,
     ·5· ·just like Newman did.· I don't know where that's going to
     ·6· ·all shake out when I'm all done with this, but either
     ·7· ·way, Mangrum was wrong to not have intervened or he was
     ·8· ·wrong by delivering an elbow strike himself to the head
     ·9· ·of Docher.
     10· ·Q.· ·Okay.· Now, Mr. Tucker, I just want to clarify
     11· ·something.· You've told me, I believe, that you do not
     12· ·know specifically where on Mr. Docher's head either
     13· ·Deputy Newman or Deputy Mangrum struck him with their
     14· ·elbows, correct?
     15· ·A.· ·The side of the head is what was said by· - in their
     16· ·deposition testimony.· Now I just know myself there's the
     17· ·side of my head.· That's the temple.· Here's the side of
     18· ·my head, the jaw, both of which are clearly identified
     19· ·specifically as deadly force in Florida training, but
     20· ·nobody· - yeah, that's· - it's true I don't know exactly.
     21· ·It might've been in between the jaw and the temple.           I
     22· ·don't know.· But it was a blow to the head and that is
     23· ·recognized -- closed-fists, batons, elbow strikes are
     24· ·deadly force when delivered to the head of a person.· No
     25· ·question about it, accepted for the last -- I've been at


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     ·1· ·this for 40-some years, so I know that.
     ·2· ·Q.· ·Now does it matter how strong the blow is?· If it's
     ·3· ·a tap versus a pile driver elbow strike, does that matter
     ·4· ·to you in your analysis, Mr. Tucker?
     ·5· ·A.· ·With all due respect, when I do a -- I'll just give
     ·6· ·you an analogy.· When I do taser cases and the -- often,
     ·7· ·the attorneys will say things like well, do you know what
     ·8· ·the actual charge of the taser was and the temperature of
     ·9· ·the battery when that shock was delivered?
     10· ·A.· ·No, we don't know, but what you do know is it was
     11· ·delivered because there's a data report that prints out
     12· ·and says there was a shock delivered.· We don't have some
     13· ·kind of a gauge that we can say well, this was an elbow
     14· ·strike with two pounds of pressure or 14 pounds.· We
     15· ·don't know, but that's why elbow strikes and closed-fist
     16· ·strikes and baton strikes, whether light impact or heavy
     17· ·impact, are not to be delivered because they can result
     18· ·in serious -- and are likely to cause serious body injury
     19· ·or death.· But we don't know about how much pressure, how
     20· ·strong Newman was or Mangrum when they delivered those
     21· ·strikes.· That's true.
     22· ·Q.· ·Okay.· So, ultimately, it sounds like it doesn't
     23· ·matter to you whether it's a tap with an elbow or a slam
     24· ·of an elbow.· To you, if you're using the elbow and
     25· ·hitting the head, it's deadly use of force?


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     ·1· ·A.· ·That's what the officers --
     ·2· · · · · · ·MR. VITALE:· Objection to the form.
     ·3· ·A.· ·-- are taught.· That's correct.
     ·4· ·Q.· ·And we were talking about Robinson and Mangrum
     ·5· ·failing to intervene.· I assume you're aware that they
     ·6· ·would need to be in a position to intervene I assume,
     ·7· ·correct?
     ·8· ·A.· ·Well, they· - yes.· Of course.· They were there.
     ·9· ·They were present.· So· - and Robinson was holding the
     10· ·legs down.· I think clearly he could of· - yeah.· They
     11· ·had to be in the position and they were.
     12· ·Q.· ·Do you know if they actually were able to see the
     13· ·elbow strikes being delivered to Mr. Docher's head?
     14· ·A.· ·Yes, I do.· In fact, Mangrum himself says I saw
     15· ·Newman deliver the elbow strike to Docher.· Let me see if
     16· ·I can find out where he said it, but I have it in here
     17· ·somewhere.
     18· ·Q.· ·And while you're looking that up, can you also tell
     19· ·me if Deputy Mangrum ever was asked where did he see
     20· ·Deputy Newman strike Mr. Docher on the head?
     21· ·A.· ·Well, I do remember.· He said he doesn't know
     22· ·exactly where the hit· - the strike was, but he saw him
     23· ·strike him in the head with an elbow strike.
     24· ·Q.· ·But regardless of where on the head, again, you're
     25· ·saying that's deadly force?


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     ·1· ·A.· ·Yes.· It's· - it is recognized as deadly force,
     ·2· ·elbow strikes to the head, although Mangrum says a strike
     ·3· ·to the temple is not deadly force.· Well, it is.· That
     ·4· ·specifically says that in the Florida Basic Recruit
     ·5· ·Training Program, but Mangrum says no, it's not.· He's
     ·6· ·completely in disagreement with the training in Florida,
     ·7· ·page 18 of his deposition, line 13.
     ·8· ·Q.· ·And who is that?· I'm sorry.
     ·9· ·A.· ·Mangrum.· He says a strike        -
     10· ·Q.· ·Okay.
     11· ·A.· ·-- to the temple is not deadly force.
     12· ·Q.· ·But you don't· - you've already told me you don't             -
     13· ·Deputy New· - I'm sorry· - Deputy Mangrum said he didn't
     14· ·know specifically where Deputy Newman's elbow strike           -
     15· ·what part of Mr. Docher's head it struck?
     16· ·A.· ·Yeah.· Right.· He didn't know what part was struck.
     17· ·Q.· ·Okay.· Now, Mr. Tucker, let ask you.· What are your
     18· ·charges in this case to date?
     19· ·A.· ·A $6,000 flat-fee retainer that I receive whenever I
     20· ·take on a case.
     21· ·Q.· ·And are expecting any additional charges in the
     22· ·future?
     23· ·A.· ·Well, I assume I'm going to be paid for my
     24· ·deposition for today, which should be a $1,500 fee, and
     25· ·that should be it until it goes to trial.· If it goes to


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     ·1· ·trial, I will charge my regular trial fee of $3,000 plus
     ·2· ·travel expenses to the trial site.
     ·3· ·Q.· ·Okay.· And the $1,500 for deposition, is that a flat
     ·4· ·fee?
     ·5· ·A.· ·It is, if it's a deposition done in my home
     ·6· ·location, which Raleigh is, today.
     ·7· ·Q.· ·Okay.· And can you tell me how many hours you've
     ·8· ·spent on the subject case to date?
     ·9· ·A.· ·I cannot.· In fact, that's the reason why I do a
     10· ·flat-fee system, because there's only me.· I don't keep
     11· ·tabs of how many minutes I worked on this case today and
     12· ·how many hours I worked on it the next day.· I have, over
     13· ·the years, developed an idea that it takes about 40 hours
     14· ·of work for me to look at a typical case and write a
     15· ·report.· And so, at $150 an hour, that's where the $6,000
     16· ·comes from.
     17· ·Q.· ·And then, after that, if that amount is surpassed,
     18· ·in terms of your time spent, do you then ask for an
     19· ·additional retainer?
     20· ·A.· ·That has happened twice in the 20 years I've done
     21· ·litigation consulting.· One of them was a case down in
     22· ·Florida where I had a· - seven file boxes full of
     23· ·material and I had to go back to the attorney and ask for
     24· ·an additional retainer and once up in Massachusetts over
     25· ·the last 20 years.


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     ·1· ·Q.· ·And, in those circumstances, did you request another
     ·2· ·retainer or did you just start billing by the hour or do
     ·3· ·you know?
     ·4· ·A.· ·Started going by the hour.
     ·5· ·Q.· ·Okay.· And I know you told me earlier· - well, let
     ·6· ·me ask you.· How many times, to your knowledge, have you
     ·7· ·been qualified as an expert in the law enforcement police
     ·8· ·practices field?
     ·9· ·A.· ·Upwards of 90 times.
     10· ·Q.· ·And have any of the courts ever excluded any of your
     11· ·opinions for any reason?
     12· ·A.· ·Yes.· Of course.· Motions in limine as to whether or
     13· ·not the issue involved was a legal conclusion, like
     14· ·whether or not there was probable cause, for example.· If
     15· ·I would've said, for example, when I express my opinions
     16· ·here and I say that it was a level of force that was a
     17· ·greater level of force than other officers would've used
     18· ·in 2014, that, in essence, is a lay person or a police
     19· ·person's way of expressing excessive force.· But if I
     20· ·would've said my first opinion was that the deputies used
     21· ·excessive force and it was objectively unreasonable, you
     22· ·would've filed a motion to· - in limine to have that
     23· ·opinion stricken because that's a legal conclusion.· So
     24· ·that has happened to me in the past, but that's why I say
     25· ·things they way I say them today so I don't have to worry


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     ·1· ·about that.
     ·2· ·Q.· ·And can you tell me how times your opinions have
     ·3· ·been excluded for any reason?
     ·4· ·A.· ·No, I can't.· Probably, I'd just say a few times.
     ·5· ·And early on· - most early on in my career because, as I
     ·6· ·said, I learned after· - in fact, I talked to a judge and
     ·7· ·said how do I explain excessive force without it being a
     ·8· ·legal conclusion if, theoretically, any expert that takes
     ·9· ·on a use of force case and says it was objectively
     10· ·reasonable force, if you're on the defense side, that
     11· ·could be excluded as a legal opinion.· You know, on the
     12· ·other side, the plaintiff says it was excessive force.
     13· ·That could be excluded· cause it's a legal conclusion.
     14· ·That's why I say things the way I do now because I had to
     15· ·literally ask the judge how to say it and he said put it
     16· ·in police terms and explain it that way, which is what I
     17· ·do.
     18· ·Q.· ·Have your· - any of your opinions been excluded
     19· ·because you were basically commenting on the credibility
     20· ·of a witness?
     21· ·A.· ·No.· I don't assign credibility in any witnesses.
     22· ·That's up to the jury, the trier of fact, to assign
     23· ·credibility.
     24· ·Q.· ·And I know you've told me that, at least a few
     25· ·times, your opinions have been excluded over the years,


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     ·1· ·but do you typically follow up with the attorneys that
     ·2· ·you dealt with to find out what the outcome of motions in
     ·3· ·limine were or --
     ·4· ·A.· ·Oh, I --
     ·5· ·Q.· ·-- things that happened during the trial?
     ·6· ·A.· ·Sure, sure.· Yeah, I typically do.· It's a learning
     ·7· ·process.
     ·8· ·Q.· ·And what's the percentage of your income that you
     ·9· ·obtain from this consulting work?
     10· ·A.· ·Well, up till this point, it was probably 90%, but
     11· ·now that I've been working toward retirement, I'd say
     12· ·probably 40 or 50%.· I have a retirement from the City of
     13· ·Tallahassee.· I draw social security.· I'm under contract
     14· ·with the City of Tallahassee to advise them on all their
     15· ·cases where they're sued.· So I'd say probably 40 or 50%
     16· ·at this point.
     17· ·Q.· ·All right.· Mr. Tucker, is there any topic that you
     18· ·believe is relevant to your opinions that I have not
     19· ·discussed with you here today?
     20· · · · · · · MR. VITALE:· Objection to the form.
     21· ·A.· ·You didn't ask me anything at all about whether --
     22· ·you know, custom and practice and I told you that I'm
     23· ·classifying my opinions as still preliminary until after
     24· ·I've seen the deposition testimony of the corporate
     25· ·representative of the St. Lucie County Sheriff's Office


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     ·1· ·so I can make a determination on that and finalize
     ·2· ·everything.
     ·3· ·Q.· ·Sure.· Well, just so we're clear, Mr. Tucker, as of
     ·4· ·right now, the plaintiff does not have a custom policy
     ·5· ·claim against the sheriff's office of St. Lucie
     ·6· ·County, --
     ·7· ·A.· ·Yeah.
     ·8· ·Q· · -- so, as far as I'm concerned, I'm not going to ask
     ·9· ·you a bunch of questions that, as of right now, arguably,
     10· ·isn't even relevant to the proceeding, at least in terms
     11· ·of the claims that are currently pending.· It may be down
     12· ·the road that they'll amend and I will be talking to you
     13· ·again.
     14· ·A.· ·Okay.
     15· ·Q.· ·I don't know.
     16· ·A.· ·All right.
     17· ·Q.· ·I guess we'll figure that out.
     18· ·A.· ·Sure.· I understand.
     19· · · · · · ·MR. BARRANCO:· I appreciate your time.· I have
     20· ·no more questions for you.· I don't know if anyone else
     21· ·does.
     22· · · · · · ·THE WITNESS:· Thank you for your questions.            I
     23· ·appreciate it.
     24· · · · · · ·MS. BARRANCO:· Thank you.
     25· · · · · · ·MS. TYK:· Mr. Tucker, --


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     ·1· · · · · · ·MR. VITALE:· This is David Vitale.· I have a
     ·2· ·few questions.
     ·3· · · · · · ·MS. TYK:· I have questions too.· Do you want to
     ·4· ·wait until I go or do you want to go first/
     ·5· · · · · · ·MR. VITALE:· Yeah.· You can go first.
     ·6· · · · · · ·MS. TYK:· Okay.· Hi, Mr. Tucker.· My name is
     ·7· ·Julie Tyk.· I represent the St. Lucie County Fire
     ·8· ·District and Jose Rosario.· I just have a few questions
     ·9· ·about your report that you've written in this matter.
     10· · · · · · ·THE WITNESS:· Right.
     11· · · · · · ·CROSS-EXAMINATION
     12· · · · BY MS. TYK:
     13· ·Q.· ·Specifically, as to your preliminary opinion number
     14· ·two, dealing with excited delirium, --
     15· ·A.· ·All right.
     16· ·Q.· ·-- now I know in your report you discuss the fact
     17· ·that you are not a medical doctor.· Is that correct?
     18· ·A.· ·Correct.
     19· ·Q.· ·Okay.· And you have no formal medical training.· Is
     20· ·that correct?
     21· ·A.· ·Correct.
     22· ·Q.· ·And, in your report, you are not diagnosing Mr.
     23· ·Tavares Docher with excited delirium.· Is that accurate?
     24· ·A.· ·That's correct.· He's exhibiting the symptoms of
     25· ·excited delirium.


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     ·1· ·Q.· ·Okay.· And so, is it an assumption on your part for
     ·2· ·your opinions that he had excited delirium at the time of
     ·3· ·the incident?
     ·4· ·A.· ·As I testified to earlier, one has to· - an expert
     ·5· ·has to assume something to be true or there's no way he
     ·6· ·can render an opinion.· So, yes, I assumed· - and, in
     ·7· ·fact, I think it was· - well, in any case, I assumed he
     ·8· ·was excited delirium because he was exhibiting the
     ·9· ·symptoms of excited delirium.
     10· ·Q.· ·Have you seen any reports -- medical records in
     11· ·which a medical physician has diagnosed Tavares Docher as
     12· ·suffering from exciting delirium on May 11th, 2014?
     13· ·A.· ·No.
     14· ·Q.· ·Have you seen any other expert report in this case?
     15· · · · · · · · · MR. VITALE:· Objection to form.
     16· ·A.· ·Just the CME of the· - Docher by the defense expert.
     17· ·Q.· ·Okay.· No other formal written         -
     18· ·A.· ·No.
     19· ·Q.· ·-- reports?
     20· ·A.· ·No.
     21· ·Q.· ·All right.· And I think, in reviewing your report,
     22· ·the symptoms of excited delirium that you believe he was
     23· ·exhibiting were hallucinations, sweating, agitation.
     24· ·Anything else?
     25· ·A.· ·Delusional, breaking glass· - we           -


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     ·1· ·Q.· ·Well, I meant that he was exhibiting, not -
     ·2· ·A.· ·Oh.
     ·3· ·Q.· ·-- all of the symptoms.
     ·4· ·A.· ·Sweaty, delusional, seeing things that aren't there,
     ·5· ·according to the deputies, heads· - Arabs trying to get
     ·6· ·him because he knew where the bodies were· - the heads
     ·7· ·were buried in St. Lucie County, not acting normal,
     ·8· ·agitation.· Those were the primary signs.
     ·9· ·Q.· ·Did you review the deposition of his mother and of
     10· ·his aunt and cousin in this matter?
     11· ·A.· ·No.
     12· ·Q.· ·Were you aware that Mr. Docher actually did have a
     13· ·friend who was beheaded?
     14· ·A.· ·No.
     15· ·Q.· ·Under the symptoms of excited delirium, one of them
     16· ·is extreme agitation.· What is your definition of extreme
     17· ·agitation?
     18· ·A.· ·I think it's what was said by Mr. Brown.· He seemed
     19· ·agitated.· He didn't say extreme [sic] agitated.
     20· ·Irritable or, you know, just upset.· You know, I don't
     21· ·know how to put· - extreme would be very upset.· That's
     22· ·basically it.
     23· ·Q.· ·Okay.· So, with excited delirium, is it more that
     24· ·the person has extreme agitation versus somebody who's
     25· ·just regularly agitated?


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     ·1· ·A.· ·They just used the term agitation and Brown
     ·2· ·described him as being agitated.
     ·3· ·Q.· ·Okay.· So you don't know the level of agitation that
     ·4· ·he --
     ·5· ·A.· ·No.
     ·6· ·Q.· ·-- exhibited?
     ·7· ·A.· ·I don't think there is some kind of a bright line
     ·8· ·that says okay, he's agitated, but that's not excited
     ·9· ·delirium.· Oh, he's very agitated, so now it is excited
     10· ·delirium.· I don't think there's any kind of a bright
     11· ·line there.· You look at all these facts combined, that's
     12· ·what you conclude, excited delirium.
     13· ·Q.· ·Do you know how common it is for a person to be
     14· ·suffering from excited delirium?
     15· ·A.· ·How common?
     16· ·Q.· ·Um-hmm.· The incident --
     17· ·A.· ·Well, --
     18· ·Q.· ·-- rate.· The incident rate of an individual.
     19· ·A.· ·It accounts for a great percentage and I'm saying I
     20· ·think probably the latest I'd seen was some studies
     21· ·saying 20 or 30% of all in-custody deaths.
     22· ·Q.· ·And do you know what studies showed that?
     23· ·A.· ·I don't have one off the top of my head.· I may have
     24· ·cited some of those studies in that chapter in the book.
     25· ·I don't know.· They may be cited in the documents that I


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     ·1· ·provided on excited delirium.· They probably are.            I
     ·2· ·can't keep track of all the studies.
     ·3· ·Q.· ·And outside of in-custody deaths, do you know the
     ·4· ·overall incident rate for the overall population in the
     ·5· ·United States for somebody suffering from excited
     ·6· ·delirium?
     ·7· ·A.· ·No.
     ·8· ·Q.· ·Do you have· - did you receive any medical records
     ·9· ·for Tavares Docher in this matter?
     10· ·A.· ·Well, let me look and see what's listed there on              -
     11· ·it doesn't look like it.
     12· ·Q.· ·So you're unaware of his medical history in this
     13· ·matter?
     14· ·A.· ·No, I am not.
     15· ·Q.· ·Have you seen the lab reports that were done at St.
     16· ·Lucie Medical Center from this incident?
     17· ·A.· ·No.
     18· ·Q.· ·Do you know what his blood alcohol level was?
     19· ·A.· ·I do not.
     20· ·Q.· ·Do you know what the results of any of the drug
     21· ·testing were?
     22· · · · · · ·MR. VITALE:· Objection to form.
     23· ·A.· ·It seems like somewhere I saw that and there wasn't
     24· ·the presence of drugs in his system.· I· - it seems like
     25· ·I saw that somewhere.


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     ·1· ·Q.· ·Okay.· I noted that on your CV, you         -
     ·2· ·A.· ·On my what?
     ·3· ·Q.· ·Curriculum vitae.
     ·4· ·A.· ·CV?· Yeah.
     ·5· ·Q.· ·Yeah.· That you, under your training services,
     ·6· ·indicate a couple of training services for emergency
     ·7· ·vehicle operations.
     ·8· ·A.· ·Right.
     ·9· ·Q.· ·What exactly is that?
     10· ·A.· ·EVOT, Emergency Vehicle Operations Training.
     11· ·Emergency response and high-speed pursuit --
     12· ·Q.· ·Okay.
     13· ·A.· ·-- basically.
     14· ·Q.· ·But nothing to do with any type of medical --
     15· ·A.· ·I did some training for one of the agencies in
     16· ·Maine, an EMS organization in Maine, on emergency vehicle
     17· ·operations, the requirement that -- whether it's a
     18· ·medical emergency or not, that you operate audio and
     19· ·visual signals, that you exercise due regard to the
     20· ·motoring public that's out there, that sort of thing,
     21· ·just to help them out from potential liability
     22· ·situations.· But, typically, it's all that I do in
     23· ·policing.
     24· ·Q.· ·Okay.· And you're not a paramedic or an EMT?
     25· ·A.· ·No, I"m not.


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     ·1· ·Q.· ·You attached to your report the IACP policy on
     ·2· ·excited delirium.
     ·3· ·A.· ·Yes.
     ·4· ·Q.· ·Is that accurate?· Okay.· Do you find that to be a
     ·5· ·reliable authority on        -
     ·6· ·A.· ·Well, yes, I do.
     ·7· ·Q.· ·-- excited delirium?
     ·8· ·A.· ·It's published by the U.S. Professional Police
     ·9· ·Association· - International Police Association.
     10· ·Q.· ·Okay.· And     -
     11· · · · · · ·COURT REPORTER:· Did you say· - I'm sorry.· You
     12· ·said authority on what?· I didn't -
     13· · · · · · ·MS. TYK:· A reliable authority on excited
     14· ·delirium.
     15· · · · · · ·COURT REPORTER:· Thank you.
     16· · · · · · ·MS. TYK:· Um-hmm.
     17· · · · BY MS. TYK:
     18· ·Q.· ·And you also brought with you, and cited in your
     19· ·report, the IACP National Law Enforcement Policy Center
     20· ·paper on excited delirium.· Do you also find that to be a
     21· ·reliable authority?
     22· ·A.· ·Yes.
     23· ·Q.· ·And, again, it looks like it was Force Science News
     24· ·#29, 10 Training Tips for Handling "Excited Delirium."
     25· ·Do you find that to be a reliable authority?


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     ·1· ·A.· ·At the time it was published, it was, but it's a
     ·2· ·2006 and there's been a lot of developments since then.
     ·3· ·Q.· ·Okay.· And what has changed?
     ·4· ·A.· ·The identification of more symptoms.
     ·5· ·Q.· ·Anything else?
     ·6· ·A.· ·No.
     ·7· ·Q.· ·Okay.· If you would· - is it correct to state that
     ·8· ·all of the papers that we just discussed recognize the
     ·9· ·use of chemical sedation when dealing with somebody who
     10· ·is exhibiting the symptoms of excited delirium?
     11· ·A.· ·Yes.
     12· · · · · · ·MS. TYK:· That's all the questions I have.
     13· · · · · · ·THE WITNESS:· Thank you.
     14· · · · · · ·MS. TYK:· Thank you.
     15· · · · · · ·MR. VITALE:· Okay.· I have a few questions, Mr.
     16· ·Tucker.
     17· · · · · · ·THE WITNESS:· Yes, sir.
     18· · · · BY MR. VITALE:
     19· ·Q.· ·On direct examination, you referenced the Coconut
     20· ·Grove case.· Do you recall that?
     21· ·A.· ·Yes, sir.
     22· ·Q.· ·Were you referring to the Coconut Creek case?
     23· ·A.· ·Okay.· Yes.
     24· ·Q.· ·And if we could turn to Appendix B of your report,
     25· ·which has been marked as Exhibit B to this deposition.


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     ·1· ·Let me know when you're there.
     ·2· ·A.· ·D?
     ·3· ·Q.· ·Exhibit B, as in boy.
     ·4· ·A.· ·B.· Okay.· Yes.· I'm there.
     ·5· ·Q.· ·Okay.· And the deadly force elbow strike, which is
     ·6· ·the bottom of Appendix E, do you see that?
     ·7· ·A.· ·Wait a minute.· I'm sorry.· What appendix?
     ·8· ·Q.· ·I'm at Appendix E of your report.
     ·9· ·A.· ·E.· Okay.· I was looking at B.· All right.· I'm
     10· ·looking at E.
     11· ·Q.· ·Okay.· And at the bottom is where I believe you were
     12· ·having a discussion during direct examination on deadly
     13· ·force elbow strikes.
     14· ·A.· ·Yes.
     15· ·Q.· ·Do you see that?
     16· ·A.· ·Yes.
     17· ·Q.· ·And it says, "Some target areas for a deadly force
     18· ·elbow strike include the following."· Do you see that?
     19· ·A.· ·Yes.
     20· ·Q.· ·Did I read that correctly?
     21· ·A.· ·Yes.
     22· ·Q.· ·And it includes five bullet points, which are
     23· ·examples of target areas for a deadly force elbow strike,
     24· ·correct?
     25· ·A.· ·Right.


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     ·1· ·Q.· ·That is not an exclusive list of all the target
     ·2· ·areas for a deadly force elbow strike, correct?
     ·3· ·A.· ·It is not an inclusive.· I· - as I testified to
     ·4· ·earlier, it's examples of places that would be,
     ·5· ·obviously, deadly force.
     ·6· ·Q.· ·Okay.· But, for example, it doesn't list the eye
     ·7· ·socket    -
     ·8· ·A.· ·Correct.
     ·9· ·Q.· ·-- of a person's face, correct?
     10· ·A.· ·Correct.
     11· ·Q.· ·That would be an example.· An elbow strike to an
     12· ·individual's eye socket would be an example of deadly
     13· ·force, correct?
     14· ·A.· ·Correct.
     15· ·Q.· ·And do you recall being asked some questions
     16· ·regarding the amount of force for each elbow strike
     17· ·delivered by either Deputy Newman or Deputy Mangrum?
     18· ·A.· ·Yes, I do.
     19· ·Q.· ·And do you recall· - and I believe you said that you
     20· ·had viewed the cell phone video that one of the witnesses
     21· ·took.· Is that correct?
     22· ·A.· ·Correct.
     23· ·Q.· ·Do you recall whether there was blood depicted in
     24· ·that video?
     25· ·A.· ·A lot.


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     ·1· ·Q.· ·And    -
     ·2· ·A.· ·And described by the paramedic when he arrived on
     ·3· ·the scene.· He said that he saw the deputies on top of
     ·4· ·the guy and that he was laying with his head in a pool of
     ·5· ·blood.· So, yes, --
     ·6· ·Q.· ·Do --
     ·7· ·A.· ·-- he was.
     ·8· ·Q.· ·Do you recall seeing any blood on Deputy Newman's
     ·9· ·elbow?
     10· ·A.· ·Yes.
     11· ·Q.· ·Would you agree with me that Deputy Newman must've
     12· ·used considerable force in delivering those two elbow
     13· ·strikes?
     14· · · · · · ·MS. BARRANCO:· Object to the form.
     15· ·A.· ·I would because· - enough to cause that kind of
     16· ·bleeding, yes.
     17· ·Q.· ·You also, I believe, discussed the weight of Deputy
     18· ·Mangrum and you indicated that was about 205 pounds.· Is
     19· ·that correct?
     20· ·A.· ·In his deposition, he said he weighed 209 pounds at
     21· ·the date of deposition, but at the time of the incident,
     22· ·he was 205.
     23· ·Q.· ·Do you recall Deputy Mangrum indicating that he was
     24· ·actually 330 pounds at his deposition and that Deputy
     25· ·Newman had been 209 pounds, but I believe -- on the May


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     ·1· ·11th, 2014, he believed he was roughly 205 pounds?
     ·2· ·A.· ·Well, let me see.· I may have the names reversed,
     ·3· ·but -- from memory, but I do· - one of them weighed 205
     ·4· ·and I think the other one did weigh 300 pounds.
     ·5· ·Q.· ·And the weight of those deputy would be a factor
     ·6· ·regarding your opinion on the physiology of a struggle?
     ·7· ·A· · Correct.
     ·8· ·Q.· ·And if you could flip to page 6 of your report,
     ·9· ·please.
     10· ·A.· ·Page 6?· Yes, sir.
     11· ·Q.· ·Yes.· And the first paragraph, which begins with in
     12· ·my opinion, do you see that?
     13· ·A.· ·Yes.
     14· ·Q.· ·Do you recall counsel asking you some questions
     15· ·about this opinion on direct examination?
     16· ·A.· ·Yes.
     17· ·Q.· ·It says, "In my opinion, a reasonable officer, under
     18· ·similar circumstances, would not have perceived Docher as
     19· ·an immediate threat of serious bodily harm or death at
     20· ·any time after the officers handcuffed him."· Did I read
     21· ·that correctly?
     22· ·A.· ·Correct.
     23· ·Q.· ·Do you recall in the officer's testimony          -
     24· ·deposition testimony, which I understand that you read
     25· ·after finalizing the report that's been marked as Exhibit


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     ·1· ·B, --
     ·2· ·A.· ·Right.
     ·3· ·Q.· ·Do you recall whether the officers themselves
     ·4· ·admitted that they did not feel that Mr. Docher posed an
     ·5· ·immediate threat of serious bodily harm or death at any
     ·6· ·point during the altercation?
     ·7· ·A.· ·And I think I already testified to that fact.· Yes,
     ·8· ·I do recall it and I cited their testimony to that fact.
     ·9· · · · · · ·MR. VITALE:· No further questions.· Thank you,
     10· ·sir.
     11· · · · · · ·THE WITNESS:· Thank you.
     12· · · · · · ·MS. BARRANCO:· And just one follow-up question,
     13· ·if I could, Mr. Tucker.
     14· · · · · · ·THE WITNESS:· Yes, ma'am.
     15· · · · · · REDIRECT EXAMINATION
     16· · · · BY MS. BARRANCO:
     17· ·Q.· ·You mentioned reference to the pool of blood under
     18· ·Mr. Docher's head.
     19· ·A.· ·Yes.
     20· ·Q.· ·Do you have any idea where that blood came from in
     21· ·terms of whether it was a product of Mr. Docher falling
     22· ·to the ground or elbow strikes or something else?
     23· ·A.· ·No, I don't.· I think just        -
     24· ·Q.· ·And you don't have an opinion in that regard either?
     25· ·A.· ·The only thing I can say is that there was a pool of


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     ·1· ·blood.· There was blood on Newman's elbow· - blood stains
     ·2· · - and Paramedic Sinclair said that the subject was on
     ·3· ·the ground with a pool of blood around his head.
     ·4· · · · · · ·MS. BARRANCO:· Okay.· Thank you.· I have no
     ·5· ·further questions.
     ·6· · · · · · ·MS. TYK:· No other questions.
     ·7· · · · · · ·MS. BARRANCO:· And I guess he's going to read
     ·8· ·and I would like to get a copy and, --
     ·9· · · · · · ·COURT REPORTER:· Um-hmm.
     10· · · · · · ·MS. BARRANCO:· -- in terms of Exhibit C, I
     11· ·know, Mr. Tucker, you had those two articles and I didn't
     12· ·know if the court reporter would be able to photocopy
     13· ·that one chapter 5 for me and include it as part of
     14· ·Exhibit C.
     15· · · · · · ·COURT REPORTER:· Okay.· I can get the people at
     16· ·the desk to make a copy.· So you want· - for Exhibit C,
     17· ·you want chapter 5 copied and then you wanted a copy of
     18· ·the front of the book as well· - the front cover of the
     19· ·book?
     20· · · · · · ·MS. BARRANCO:· Yes.
     21· · · · · · ·THE WITNESS:· How about if I leave the book and
     22· ·those -- Exhibit C with -- that's updated and the two
     23· ·other articles that I brought with the court reporter and
     24· ·she sends it all back to me.
     25· · · · · · ·MS. BARRANCO:· That'll be great.· Thank you,


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     ·1· · Mr. Tucker.
     ·2· · · · · · · THE WITNESS:· Thank you.
     ·3· · · · · · · MR. VITALE:· Thank you.
     ·4· · · · · · · COURT REPORTER:· Okay.· Mr. Vitale, before you
     ·5· · get off the phone, I know that Summer wants a copy.· Do
     ·6· · you want to order the transcript?
     ·7· · · · · · · MR. VITALE:· Yes.· We'll take a copy, please.
     ·8· · · · · · · COURT REPORTER:· Do you want condensed,
     ·9· · electronic, full?· What's your pleasure?
     10· · · · · · · MR. VITALE:· Condensed is fine.
     11· · · · · · · COURT REPORTER:· Okay.· Do either of you need
     12· · the transcript expedited for any reason?
     13· · · · · · · MS. BARRANCO:· Not me.
     14· · · · · · · MR. VITALE:· No, ma'am.
     15· · · · · · · COURT REPORTER:· Okay.· Great.· Thank you.
     16· ·(The deposition concluded at 1:12 p.m.)
     17
     18
     19
     20
     21
     22
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     24
     25


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     ·1· · · · · · · · · · ·CERTIFICATE
     ·2
     ·3· ·State of North Carolina
     ·4· ·County of Harnett
     ·5
     ·6· · · · I, Mary Lynn Fuller, a Notary Public in and for the
     ·7· ·State of North Carolina, do hereby state that there came
     ·8· ·before me on the 12th day of July, 2017, the person
     ·9· ·hereinbefore named, who was by me sworn to testify to the
     10· ·truth and nothing but the truth of his knowledge
     11· ·concerning the matters of controversy in this cause; that
     12· ·the witness was thereupon examined under oath, the
     13· ·examination reduced to typewriting; and the deposition is
     14· ·a true and accurate transcription of the testimony given
     15· ·by the witness.
     16· · · · I further certify that I am not counsel for, nor in
     17· ·the employment of any of the parties to this action; that
     18· ·I am not related by blood or marriage to any of the
     19· ·parties, nor am I interested, either directly or
     20· ·indirectly, in the results of this action.
     21· · · · In witness whereof, I have hereto set my hand, this
     22· ·the 25th day of July, 2017.
     23
     24
     25· ·Mary Lynn Fuller, Notary


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                                         ERRATA SHEET
          F.R.C.P. RULE 1.310 PROVIDES, IN PART:
          (e)"... Any changes in form or substance that the witness wants to make shall be
          entered upon a separate correction page by the officer with a statement of the
          reasons given by the witness for making them..."

   P GE/LINE                             CHANGE/CORRECTION                                  REASON




   I, MELVIN TUCKER, do hereby certify that I have read the foregoing transcript of my deposition,
   given on 7/12/2017, and that together with any additions or corrections made herein, it is true and
   correct.

                                                        MELVIN TUCKER - Deponent




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